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Attomeysfor Plainfij§s‘

UNITED STA'I`ES I)ISTRICT COURT
DISTRICT OF NEVADA

A. I)OE, E. DOE, K. DOE, M. DOE, S. DGE,) Case NO.

and Y. DOE,
Plaintiffs,

V.

KURT LUDWIGSEN, in his individuaf

)
) MEMORANI)UM 0F LAW IN SUPPORT

) OF PLAINTIFFS’ MOTION TO
) COMPEL SUBPOENA COMPLIANCE

)
)

capacity, KIRSTEN LAMBERTSON, in her )
individual capacity, MICHAEL G. SCALES, )

individually and as President of Nyack

)

College, DAVID C. JENNINGS, individually )

and as Executive Vice President of Nyack

)

College, KEITH DAVIE, individually and as )

Athletic Director for Nyack Co§lege,

AMANDA AIKENS, individually and as

TAYLOR BROWN, individually and as
Assistant Soiiball Coach for Nyack College,
KAREN DAVIE, individually and as Dii~ector)
ofHuman Resources and Title IX Coordinator )
for Nyack Coliege, NYACK COLLEGE, and )

)
)
Assistant Athletic Director forNyack College, )
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Defendants.

 

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MEMORANDUM OF LAW IN SUPP()RT OF PLAINTIFFS’ MOTION
TO COMPEL SUBPOENA COMPLIANCE

Pursuant to Fed.R.Civ.P. 45, Plaintiffs hereby move this court to compel subpoena

compliance by Brittany Sturtevant.

MEMORAN§)UM OF P()INTS AND AUTHORITIES
INTRODUCTI{)N

The facts and procedural history relevant to the instant motion are fuliy Set forth in the
Deciaration of Todd J. Krouner, Esq., dated March 20, 2018 ("Krouner Deci.“), submitted
herewith and attached hereto as Exhihit “l”.

First, Plaintit"t`s' i\/iotion to Coinpel a non-party to this action, Brittany Sturtevant, a.i<.a.
Aliie Haze ("Ms. Sturtevant“), should be granted because the subpoena ad testificandum and duces
tecum issued on or about October 26, 2017 (the “Subpoena”), addressed to Ms. Sturtevant, was
properly severed on i\/is. Sturtevant, and because the Subpoena seeks the testimony and documents
that are within the scope of discovery Second, this Court is the proper venue for enforcing the

Suhpoena against a non-party

ARGUMENT

I. THE COURT SHOULD COMPEL MS. STURTEVANT TO COMPLY
WITI'I THE SUBPOENA

 

 

 

Rule 45 of the Federal Rules of Civil Procedure (“Rule 45”) authorizes federai courts to
issue subpoenas to non-parties to “cornpel testimony or the production of documentary evidence in
an ongoing case.” Estate ofUngar v. Paiestinian Auth., 396 F. Supp. 2d 376, 379 (S.D.N.Y. 2005).
_S_e_e also Saiem Ve,<;as, L.P. v. Guanci, 2033 WL 5493126, at *1 (D. Nev. Sep. 30, 2013)

 

(acknowledging that Rule 45 authorizes federa1 courts to issue subpoenas against non-parties).
Subpoenas issued pursuant to this rule allow a party to “obtain discovery regarding any non-
privileged matter that is relevant to any party's claim or defense.” Koch v. Greenberg, 2009 WL
2143634, at *2 (S.D.N.Y. July 14, 2009) (citing Ped. R. Civ. P. 26(b)(1)); Painters Joint Comm. v.

Ernployee Painters Trust Health &. Welfare Fund, 2011 WL 4573349, at *5 (D. Nev. Sep. 29,

 

 

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2011) ("It is Well established that the scope of discovery under a subpoena issued pursuant to Rule
45 is the same as the scope of discovery allowed under Rule 26(b)(1).“).

Under Rule 45(a)(2), “[a] subpoena must issue from the court Where the action is pending.”
Fed.R.Civ.P. 45(a)(2). The subpoena may specify a “[p]lace of [c]ompliance” that is “within 100
miles of where the person resides, is employed, or reguiarly transacts business in person.”
Fed.R.Civ.P. 45(0)(l)(a). Rule 45(d)(2)(B)(i) allows the serving party “{a]t any time, on notice to
the commanded person” to “rnove the court for the district where compiiance is required for an
order compelling production or inspection.”

Here, the motion to compel should be granted because the Subpoena was properly served
on l\/is. Sturtevant and seeks testimony and documents on topics within the scope of discovery
Additionaily, Ms. Sturtevant should be compelied to produce subpoenaed documents two weeks
prior to her deposition

A. The Subpoena Was Properiy Served And ls Valid.

In accordance with Rule 45(a), the Subpoena was issued from the United States District
Court for the Southem District of New York, where this action is pending (Krouner Deci. 11 5,
Exhibit A.) The Subpoena satisfies the form and content requirements of Rule 45(a). On or about
Novernber 7, 2017, the Subpoena was properly served on Ms. Sturtevant in Las Vegas, Nevada.

(_S_e_e_, Krouner Aff. 11 5, Exhibit B); Fed.R..Civ.P 45(b)(2); see also Probulk Carriers Lirnited v.

 

Mmamryeml, 180 F.Supp.3d 290, 292 (S.D.N.Y. 2016) (under Rule 45(b)(2), “{a] subpoena may be
served at any place within the United States“); NML Capital Ltd. v. Republic of Argentina, 2014
WL 3898021, at *9 (D. Nev. August 11, 2014) ("A subpoena 'may be served at any place within
the United States."‘).

Ms. Sturtevant acknowledged receipt of the Subpoena on or about Decernber 5, 2017,
when Ms. Sturtevant called the Law Ofiice of 'f`odd .F. Krouner, P.C. (Krouner Decl., il 6.) The
Subpoena requires l\/ls. Sturtevant‘s compliance at the Reisman Sorol<ac law ofiice, located at 8965
South Eastern Avenue, Suite 382, Las Vegas, Nevada 89123, which is within 100 miles of where

l\/ir. Sturtevant resides §_e_e Fed. R. Civ. P. 45(c).

 

 

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Plaintit`fs‘ made numerous attempts to reach out to Ms. Sturtevant to schedule the
deposition on the dates convenient for l\/ls. Sturtevant. (§ee Krouner Decl., il 6-10.) To date, Ms.
Sturtevant has not replied. ld_.it 11.

The Subpoena was properly served and is valid. Ms. Sturtevant ignored Plaintift`s‘ request
to arrange the deposition. Consequently, the Court should compel l\/ls. Sturtevant to comply with
it.

B. The Subpoena Seeks Deposition Topics Within 'I`he Permissible Scope Of
Discovery

Rule 26(b) provides that a party may obtain discovery regarding "any non~privileged
matter that is relevant to any party's ciaiin or defense." Fed. R. Civ. P. 26(b). Rule 26(b) "governs
the scope of discovery from parties and non-parties alike." Crosbv v. Citv of New York, 269
F.R.D. 267, 282 (S.D.N.Y. 2010); _s_ee_ also Painters Joint Comm.. 2011 WL 4573349, at *5 (“It is
well established that the scope of discovery under a subpoena issued pursuant to Rule 45 is the
same as the scope of discovery allowed under Rule 26(b)(1)."}; Night Hawk Ltd. v. Briarpatch
Ltd. LP, 2003 WL 23018833, at *8 (S.D.N.Y. Dec. 23, 2003) (same); Salvatorie Studios Int‘l v.

 

Mako's Inc., 2001 WL 913945, at *l (S.D.N.Y. Aug. 14, 2001) (sarne).

One of the allegations in this case is that defendant Kurt Ludwigsen brought a porn star,
known as Atlie Haze, to meet with plaintiffs on Nyack Coliege’s campus He later had at least two
plaintiffs meet with Ms. Sturtevant, in his oftice, after a second team meeting With her at his
house. (Krouner Decl., il 3.) 'l`he information that Piaintit"is seek to elicit during the deposition is
relevant to this ciaiin. §e§ in re Subpoena lssued to Dennis Friednian 350 F.3d 65, 69 (2d Cir.
2003) (to meet its relevance burden, a party need establish only that the subpoenaed information is
relevant to any claim or det`ense); Paws Up Ranch, LLC v. Green, 2013 WL 6184940, at *4 (D.
Nev. Nov. 22, 2013) (denying motion to quash a non-party subpoena because "Plaintit`t`s have
articulated severai issues for which these documents [were] relevant").

Consequently, the Court should compel l\/is. Sturtevant to coinpiy with the Subpoena.

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C. Ms. Sturtevant Should Be Compelled To Produce Requested i)ocuments Two
Weeks Prior To The Deposition.

Rule 45 of the Federal Rules of Civil Procedure authorizes the issuance of a subpoena
seeking the production of documents from a nonparty. A subpoena should designate with
reasonable particularity the documents things and electronically stored information that are to be
produced by the party upon whom it is served. §ge Wright &. l\/liller, 9A Fed. Prac. & Proc. Civ. §

2457 (3d ed.) (2017). In the present casej the Subpoena required l\/ls. Sturtevant to produce:

l. Current copy of curriculum virae or resume.

2. For the period of January l, 2012, to the present, a copy ot` all
documents concerning any communications including without
lilnitation, letters, Facebook messages, emails, twitter messages and text
inessages, between [her] and; a) Kurt Ludwigsen; b) Verit`ied Call; c)
any student»athlete at Nyack College; d) any member of the press
concerning Kurt Ludwigsen; and e} any other person or entity
concerning Kurt Ludwigsen.

3. A copy of all documents concerning [her] travel to New York and/or
New Jersey (z'.e. travel itineraries, rental car agreements, etc.) in
February 20l 5, when [she] stayed at the residence of Kurt Ludwigsen,
in Ridgewood, New Jersey (the "February 2015 Trip").

4. A copy of all documents cornering [herj professional appointment or
professional activities during the February 2015 Trip.

5. For the period ofianuary 1, 2012, to the present, a copy oi"ali
documents concerning fhcr] speaking engagements at any college
and/or university other than N`yacl< College.

6. For the period ot`January 1, 2012, to the present, a copy of all
documents concerning any money paid to [ber} by Kurt Ludwigsen.

7. For the period ot` January l, 2012, to the present, a copy of all
documents concerning any money paid to [her} by Veriiied Call.

8. For the period ot`January l, 2012, to the present, a copy of all
documents concerning any promotional or convention events that [sb.ej

attended at which Kurt Ludwigsen was also present

9. Ail photographs of Kurt Ludwigsen.

 

 

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10. Ali photographs concerning the February 2015 Trip.
(Krouner Decl., Exhibit A.)

Piaintiffs' Subpoena designates with reasonabie particularity the docuinents, things and
eiectronicaliy stored information that l\/is. Sturtevant was required to producel Ms. Sturtevant
repeatedly faiied to comply with the Subpoena. i\/is. Sturtevant should be compeiied to produce
requested documents two weeks prior to her deposition; otherwise, Plaintiffs wiii be unable to

adequately prepare for the deposition

II. THIS COURT IS THE PROPER VENUE F()R ENFORCING THE SUBPOENA
AGAINST A NON-PARTY.

 

 

 

Under Rule 45(a)(2), “{a] subpoena must issue from the court where the action is pending.”
Fed. R. Civ. P. 45(a)(2). The subpoena may specify a “[p]lace of [c]ompliance” that is “within 100
miles of where the person resides, is employed, or regulariy transacts business in person.” Fed. R.
Civ. P. 45(c)(1)(a). Where the commanded party objects to a subpoena, Ruie 45(d)(2)(B)(i) allows
the serving party “[a]t any time, on notice to the commanded person” to “rnove the court for the
district where compliance is required for an order compelling production or inspection.” Fed. R.
Civ. P. 45(d)(2)(B)(i).

Addressing the issue, the Eastern District ofNeW York recently explained:

[P]rior to the 2013 amendments to Ruie 45, a subpoena duces tecum
was required to be issued “from the court for the district where the
production or inspection is to be made,” Fed. Rt Civ. P. 45(a)(2)
(2007), rather than from the court where the action was pending
The prior version of Rule 45 aiso specified that “the serving party
may move the issuing court for an order coinpeiling production or
inspection.” Fed. R. Civ. P_ 45(c)(2`) (B){i) (2007). l`n other words,
under the prior version of Rule 45, the issuing court and the court of
compliance were the same. in contrast, under the current version of
Rule 45, the issuing court is the court where the litigation is

 

l At a conference on February ZI, 2018, Defendants' counsel continued to the Court that they have no
objection to the enforcement of the Subpoena. (§_@ Transcript of Fcbruary 2i, 2018 Court Conference, Davidson, .l.,
pp. 30:20-32:15, a copy of which is annexed to the Krouner Decl. as Exhibit E.)

 

 

 

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pending Nonetheiess, under both the prior and current versions of

Rule 45, the court for the district where compliance is required is the

proper venue for a motion to compel.
JMC Restaurarrt Hoidings, LLC v. Pevida, 2015 WL 2240492, at *3 (E.D.N.Y. 2015) (Scanion,
J.).

tn JMC Restaurant Holdings, the Eastern District found that the proper venue for
compelling a deposition in Manhattan was the Southern District of New York, even when the
subpoena was issued by the Eastern District of New York. I_d_. at **3-4. Numerous other recent
cases came to the same conclusion §§ KGK Jewelry LLC v. ESDNetwork, 2014 WL 1199326,
at *2 (S,D.N.Y. 2014) ("After the 2013 amendments, Rule 45 now requires subpoenas to issue
from ‘the court where the action is pending,’ Fed. R. Civ. P. 45(a)(2), but still reserves the power
to quash or modify a subpoena to the ‘court for the district where compliance is required,’ Fed. R.
Civ. P. 45(d(3)).").

Similarly, this Court has found that "fW]hile the court where the action is pending issues
subpoenas, the authority to adjudicate a motion to compel arising out of those subpoenas is vested
with the court where compiiance is required." Argento v. Syivania Lighting Services Corp., 2015
WL 4918065, at *3 (D. Nev. August 18, 2035); Bridge v. Credit One Financial, 2015 WL
3938367, at *1 (D. Nev. J'une 25, 2015) ("[T]his Court lacks jurisdiction to resolve a motion to
quash [a non»party subpoena] When the place where compliance is required is located in another
district."); Agincourt Gaming, LLC v. Zyr_rga, lnc., 2014 WL 4079555, at *3 (D. Nev. Aug. 15,
2014) (“The previous version of Ruie 45 provided that the issuing court possesses jurisdiction to
quash or modify subpoenas, whereas the current version of the Rule provides that the court for the
district where compliance is required has jurisdiction to quash or modify subpoenas.“) (citations

and quotation marks omitted).

 

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Here, the subpoena calls for Ms. Sturtevant's subpoena compliance in Las Vegas, Nevada,
where Ms. Sturtevant resides Consequently, the proper venue for enforcement of the subpoena is
the United States District Court for the District of Nevada.

Consequently, this Court is the proper venue for enforcing the Subpocna against a non-
party
QQM§.M
For the reasons set forth above, Plaintiffs' motion to compei deposition subpoena should be

granted

Dated this 27th day of March, 2018.

REISMAN SOROKAC

/s/f Joshua H. Reisman, Esg.
JOSHUA H. REISMAN, ESQ.

Nevada Bar No. 7152

GLENN M. MACHADO, ESQ.
Nevada Bar No. '7802

8965 S. Eastem Ave, Suite 382
Las Vegas, Nevada 89123

Attorneysfor Plaz'nrz`ffs

 

 

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EXHIBIT 1

 

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IN THE UNITED S'I`ATES I)ISTRICT COURT
FOR THE DISTRICT OF NEVADA

 

A. DOE, E. DOE, K. DOE, M. DOE, S. DOE,
Y. DOE,
Piaintiffs,

-against-

KURT LUDWIGSEN, in his individual capacity,

KlRSTEN LAMBERTSON, in her individual DECLARATION ()F TOD}) J.
capacity, MICHAEL G. SCALES, individually KROUNER IN SUPPORT

and as President of Nyacic College, OF PLAINTIFFS’ MOTION
DAVID C. IENNINGS, individually and as TO COMPEL SUBPOENA
Executive Vice President of Nyack College, COMPLIANCE

KEITH DAVIE, individually and as Athletic
Director for Nyack College, AMANDA AIKENS,
individually and as Assistant Athletic Director for
Nyack College, TAYLOR BROWN, individuaiiy
and as Assistant Softbail Coach for Nyack College,
KAREN DAVlE, individuaiiy and as Director of
Human Resources and Title IX Coordinator for
Nyack College, NYACK COLLEGE,

and DOES 1~10,

Defendants.

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I, Todd J. Krouner, Esq., do deciare and state the foliowing under penaity of perjury:

l. l am the attorney for the plaintiffs in the actions brought in the United States
District Court for the Southern District ofNew Yori<.

2. l submit this declaration in support of plaintiffs Motion to Compel Subpoena
Compliance. l base this declaration upon personal knowledge and a review of my oft`rce’s case

file.

 

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3. 'l`his is the case against Nyacl< College, its former softball coach Kurt Ludwigsen,
and multiple Nyack College defendants One the allegations in this case that defendant Kurt
Ludwigsen brought a porn star, known as Allie Haze, to meet With plaintiffs on Nyack College"s
campus, and iater, had at least two plaintiffs to meet with Allie Haze in his office, after a second
team meeting with her at his house '£`he allegations are relevant, nit_e_i; alia to claims of sexual
harassment, arising under Title IX, where it is alleged that Defendant Ludwigsen was grooming
members of his softball team for the admit entertainment industry. Moreover, where Nyack
Coilege branded itself as “New York’s Christian College,” and explicitly prohibited the
promotion of pornography, the three sets of meetings with the porn star also support plaintiffs5
claims for negligent supervision

4. On or about October 26, 201?, l caused to be issued a subpoena ad testificandum
and duces m____mn, addressed to Brittany Sturtevant (“Ms. Sturtevant"), a.k.a. Allie Haze (the
“Subpoena”). The Subpoena called for her deposition on December 18, 2017, in Las Vegas,
Nevada, where she resides A copy of the Subpoena is annexed hereto as Exhibit A.

5. On or about November 2, 2017, Ms. Sturtevant Was served with the Snbpoena. A
copy of Proof of Service is annexed hereto as Exhibit B.

6. On or about December 5, 201 7, Ms. Sturtevant cailed my office and informed rny
legal assistant, Julia Gallo (“Ms. Gallo”), that she Was seeking an attorney to represent her at the
deposition Ms. Sturtevant also stated that she could not confirm her availability for Decelnber
18, 2018. Ms. Sturtevant said she would get back to Ms. Gallo with the dates of her availability

on or before December 14, 2017.

 

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7. On or about December 6, 2017, Ms. Gallo sent Ms. Sturtevant a letter confirming
her telephone conversation on December 5, 2017. Ms. Gallo also stated that if Ms. Sturtevant
got back to us on December 14, 2017, it would only leave us four days to confirm her deposition,
which would be insufficient Consequently, Msi Gallo asked Ms. Sturtevant to provide us With
the dates of her availability in J'anuary 2018. A copy of l\/ls. Gallo’s December 6, 201'? letter is
annexed hereto as Exhibit C.

8. After not hearing from Ms. Sturtevant, on or about December l4, 2017, Ms. Gallo
called her and feft a voicernail.

9. Ms. Gallo called Ms. Sturtevant, again, six more times, on or about December 18,
2017, January il), 2018, lanuary 17, 2018, .lanuary 29, 20l8, February 6, 2018 and February 8,
2018.

iO. Ms. Gallo also sent Ms. Sturtevant three emails, on or about January il, 2018,
January 26, 2018 and February 8, 2018. ln Ms. Gallo’s January 26, 2018 and February 8, 2018
emaiis, Ms. Gallo stated that all attorneys of record are available for her deposition in Las Vegas,
Nevada, on March 27, 2018, March 28, 2018 and March 29, 2018. Ms. Gallo asked MS.
Sturtevant to confirm her availability for any of these dates. Copies of Ms. Gallo’s emails are
annexed hereto collectively as Exhibit D.

ll. To date, neither Ms. Sturtevant, nor any attorney on her behalf, has replied
Consequent]y, i’laintiffs seek an Order compelling MS. Sturtevant’$ videotaped deposition on
April 30, 2018, at the Reisrnan Sorokas law office, in Las Vegas, Nevada, and, compelling

production of all responsive documents to the subpoena by 5 P.ivl. on Aprii 16, 2018.

 

 

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12. At a conference before the Court on February 21 , 2018 (the “Conference”),
Defendants’ counsels confirmed that they have no objection to the enforcement of the Subpoena.
A copy of the Conference transcript is annexed hereto as Exhibit E, pp. 30:20-32:15.

13. A prior request for the relief sought herein was made previously to the Hon. Paul
Davison, United States Magistrate ludge, Southern District of New York, who is presiding over
the discovery of these actions By Order dated I\/larch 8, 2018, Magistrate Judge Davison denied

piaintiffs’ motion Without prejudice A copy of his Order is annexed hereto as Exhibit F.

Executed on this 20th day of March, 2018

/s/'Todd .l. Krouner
Todd J. Krouner (TK0308)

 

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EXHIBIT A

 

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A() BBA (Rev. lzl\ 3) Subpoena to testify at a l')eposéli<>n in a Civil notion

UNirsn Srarss Disrnrcr CoUR'r

for the

Southern District of New Yorl;

A. [I)oe. E. Doe, l<. Doe. M.Doe, S. Doe, Y. Doe
f'l'crimij}`

v. Clvil Action No. 7':15~0\.'»07827

Kurt Ludwigsen

__b£:fend_am .. .…

SUBPOENA 'l`() TEST}FY AT A DEPOS!T!(}N lN A CIVIL ACTION

'I`o: Br§ltany Sturtevant

 

(Name ofperson to whom this subpoena is directed)

d?`eslimo)iy: YGU ARE COMMANDEI} to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action if you are an organization you must designate one or more ofticers, directors,
or managing agents or designate other persons who consent to testify on your behalf about the following matters or
those set forth in an attachment

 

P]a¢e; Reisman Sorokas § Date and 'l`irne:
8955 South Eastern Avenue, Sulte 382 § .
has Vegas} NV 89123 § 12118[20t7 10.00 am

 

 

'1`he deposition will be recorded by this method: SlenGQl'aPhY

td!’rodac:ion: Yon, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objecls, and must permit inspection, eopying, testing, or sampling of the
material: See Atlachment |. `

 

 

 

The following provisions ot` Fed. R. Civ. l’. 45 are attached ~ Rule 45(\:), relating to the place ol`conipiiance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences ol` not doing so.

Date: /f£l §§ &@f?:

 

 

CLERK OF COURT
OR W»»~M; (,:-* if // ‘
/¢ra»€l »//-- treaties
Signamre ofC!er~k or Depmy Clerk <Glrgorney ’s signature

 

'l`he name, address, e-mail address and telephone number oflhe attorney representing maine ajpm'z_vj QQGEME_E_D§E
K. Doe, Nl. Doe, S. Doe, Y. Doe , who issues or requests this snbpoena, are:

Todd J. l<rouner, 93 North Greeley Avenue, Chappaqua, NY 10514, tkrouner@krounerlaw.com, 914-238-5800

 

Noticc to the person who issues or requests this subpoena
if this subpoena commands the production of docu:nents, electronically stored informatlon, or tangible tliings, a notice
and a copy of the subpoena must be served on each party in this case before it is served on the person to whom it is
directed Fed. R. Civ. P. 45(21)(4).

 

Case 2:18-cv-00554 Document 1 Filed 03/27/18 Page 16 of 100

A€) titles (Rev. 12113) $uopoena to 'l`estil`y at a l)eposilion in a Civil Aetion (l"age 2)

Civil Aciion No. 7115“¢\’“07327

PROOF OF SERVlCE
(Tln's section should nor befi!ed with the court unless required by Fed. R. Civ. P. 45.)

l t`€C€lVC€.l this SUlJpO€nB for (nnme of individual rand title ifnny,)
Ol`l (dm‘e}

 

ij l Served the subpoena by delivering a copy to the named individual as foilows:

 

on (dme) ; or

 

13 l returned the subpoena unexecuted because:

 

Uniess lite subpoena was issued on behalf of the United States, or one of its officers or agents, l have also
tendered to the witness the fees for one day’s attendance and the mileage allowed by law, in the amount of

$

M y fees are $ for travel and S for services, for a total of $ o.oo

l declare under penalty of perjury that this information is true.

Date:

 

Sei'ver ’.s' signct!ttre

printed name and title

 

Serve:' `.s~ address

Aclditional information regarding attempted service, ctc.:

 

 

 

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AO lillA (Rev. lZ/lfl} Sui)poenu to “l`estii`y nt 3 Depositlun in a Civil Action (Page 3)

l€`ederal Ru|e ofCivi| Prneedure 45 {c), (d), (e), end (g) (Et`fective 12/1!13)

(c) l’lace of {.`ornplinnce.

{l) For tr Trlrn', Hcarr'ng, er .Deposirion. A subpoena may command n
person to attend n trial. hearing, or deposition only ns t`ollnws:
(A) within ldtl miles ot`wltere the person tesidcs, is employed, or
regularly transacts business in person; or
(l¥} within the state where the person rcsidcs, is etnploycd, cr regularly
transacts business in person, il`thc person
(i) is n party or n perty‘s ofticcr; or
(il) is commanded to attend a trial and would not incur substantial
expense

(2) For Other Discovery. A subpoena may comn\ttnd:

(A) production ofdocutnents, electronically stored informations or
tangible things st a place within 100 miles of where the person resides, is
cmplcyed. or regularly transacts business in person; and

(B} inspection ofprentiscs at the premises to be inspected.

{d) l'rotectiug n Person Subjcet to n Snbpoenn; Enforeentcnt.

(l} A voiding Urrrlue Brrrden or Expense,' Snucrr'arls. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense orr n person subject to the
subpoena Thc court fertile district where compliance is required must
enforce this duty and impose an appropriate sanction-wltich may include
inst earnings and reasonable ettemcy’s fees-on a party cr attorney who
fails to comply.

(2) Cvnnrrrrrrrl to I'mdzrce Mntcrirr!s or Perrm'r inspection

(A) ripplechan Nnt Reqztilt?d. A person commanded tn produce
docunlcnts, electronically stored infornration, or tangible tltings, or to
permit the inspection ofpretrtises, need not appear in person at the place of
production or inspection unless also commanded to appear for a depositionl
heering, or trialA

(B} Objecrtcns. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena n written objection to inspecting, copyiug, testingn or
sampling any or all oftl'tc materials or to inspecting the prentiscs-or to
producing electronically stored infonnution in the form or Forms requested
'l`hc objection must be served before tile earlier oftl’tc time specified for
compliance or l4 days after the subpoena is served if an objection is mudc,
Lhc following rules oppiy:

(l) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection

(ii) 'l`llese acts rnay be required only as directed in lite nrdcr, and the
order must protect a person who is neither a party nor a pnrty's officer front
significant expense resulting from compliance

(3} errrslrr‘rrg or Mndijj)ing n Srrb;) come

(A) Wherr Rean'red. On timely motion, tire court for thc district where
compliance is required must quash or modify a subpoena tltnt:

(ij tells to allow n reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified itt Rulc 45(c);

(lli) requires disclosure of privileged or other protected lnatter, if no
exception or waiver applics; or

(tv} subjects a person to undue burden

{B) eren Permr`rred. "l`o protect a person subject to or affected by a

subpt:)enul tire court f`or tire district where compliance is required mny, on
motion, quash or modify the subpoena if it reouines:

(i) disclosing a trade secret or other confidential researclr, dcvelopmcm_
or commercial irtl`ormation; or

(ll) disclosing an unretained expert`s opinion or information that does
not describe specific occurrences in dispute and results from the cx;u:rt’~_~:
study that was not requested by a pnny.

t(.') .S`,neclj§'t`ng Corrn'r`tr'ou.s' as an .»tl'ternrr!r've. ln the circumstances
described in Rule 45{d}(3){B), tile court may. instead of` quashing or
modifying s subpoan order appearance or production under specified
conditions il`llte Scrving parly;

(i} shows n substantial need for the testimony or material tltnt cannot he
otherwise met without undue itardship; end
(ii) ensures that the subpoenaed person will be reasonably compensated

{e} Duties in ttespond|ng to a Sulspocnu.

{l) i’rort'ncing Dncn' merits or Elecrrorricn!!y Stored lrrform¢rricn. "l`hcse
procedures apply to producing documents cr electronically stored
informstion:

(A) l)acnmenrs. A person responding to a subpoena to produce documents
must produce them as they arc kept in the ordinary course of business or
must organize and label them to correspond to the categories in tire demand

{B) For'mfor‘ Pl'odtrc‘:`ng Elecl'rnrrr'cct!ly Storect’ Informarr`on Noi .S]t)ecg`f`red.
lt' n subpoena does not specify n form for producing electronically stored
information, lite person responding must produce it in a t`orrn or forms in
which it is ordinarily maintained or in a reasonably usable form or fornrs.

(C} Eiectronic¢rlly Slored !lrformrztlon Pl'odnoed in Orr!y One Form. 'fhe
person responding need not produce thc same electronically stored
information in more titan one fornt.

{D) !rrrrcccssibt'e E!ecrrorrica!!y Stored hy"ormarion. 'l`llc person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
nf` undue burden or eosl. On motion to compel discovery or for n protective
order, the person responding must show that the information is not
reasonably accessible because ofnn<lue burden or ecst, lf that showing is
made_. the court may nonetheless order discovery front such sources if the
requesting party shows good cause, considering the limitations of little
Zt'){l.t)(Z)(C). 'l`lic court may specify conditions for tile discoveryl

{2) Clnirrzing Privilege or Profcen‘ou.

(A} lrrji)rmn!ton Wt!hire€d. A person withholding subpoenaed infomietinn
under a claim that it is privileged or subject to protection as triul~preparation
material must

(i) expressly make the claim; and

(ii} describe the marine of the withheld documents communications or
tangible things in n manner tlrnt, without revealing information itself
privileged or protected will enable the parties to assess the eleim.

(B) lnfcrrrzarion Produced. lf information produced in response to a
subpoena is subject to a claim ol"prlvilegt: or ol` protect ion as
trial»prcparntion materinl, the person making the claim may notify any party
that received the information of the claim and the basis for itt After being
notified, tt party must promptly rcturn, sequester, or destroy tile specified
information and any copies it has', must not use or disclose the int`onnntion
until tile claim is reso|vcd; nutsttnkc reasonable steps to retrieve the
information ii`the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for n determination ofthc elainr. 'l"he person who
produced the information must preserve tile information until the claim is
resolved

{g) Coutentpt.

'l`lrc court for the district where compliance is lequired_nnd also, after n
motion is transferred the issuing conrt»~~rnay hold in contempt n person
who, having been served__ fails without adequate excuse to obey the
subpoena or an order related to it_

 

For access to subpoena materials see lied tt_ Civ. lt 45(n) Comininee Note (2013).

 

 

 

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A'I"TACI‘IMEN'Y I
1. Current copy of your curriculum vime or resume
2. For the period oi".lanuary i, 2012, to the present, a copy of all documents

concerning any communications including Without limitation, letters, Facebook niessages,
emails, twitter messages and text messages, between you and:

a) Kurt Ludwigsen;

b) Verified Call;

c) Any student-athlete at Nyack College;

d) Any member of the press concerning Kurt Ludwigsen; and

e) Any other person or entity concerning Kurt Ludwigsen.

3. A copy of ali documents concerning your travel to New York and/or New lersey
(i.c. travel itineraries, rental car agreements, efc.) in February 2015, when you stayed at the
residence of Kurt Ludwigsen, in Ricigewooci, New }ersey (the “February 2015 Trip“).

4. A copy of ali documents concerning your professional appointment or
professional activities during the February 2015 'l`x‘ip.

5. For the period of Jenuery 1, 2012, to the present, a copy of oil documents
concerning your speaking engagements at any coflege and/or university other than Nyack
Coliege.

6. For the period of Janoary 1, 2012, to the present, a copy of all documents
concerning any money paid to you by Kurt Ludwigsen.

7. For the period ofJ`anuary I, 2012, to the present, a copy of all documents

concerning any money paid to you by Verified Cail.

 

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8. For the period of.ianuary I, 2012, to the present, a copy of all documents
concerning any promotional or convention events that you attended at which Kurt Ludwigsen
was also present.

9. AE] photographs of Kurt Lutiwigsen.

10. Ail photographs concerning the February 2015 'I`rip.

 

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EXHIBIT B

 

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,.\() SP;A £Re\-; filfii] Szthpoen::t to "l"esti§y m n i}t‘pos»;nton in .‘i Ci\'ii At‘tiotz tP;tgc 3)

C:`vif Action No. ?: §§vt:v~()?&?.'i

P‘R()()F (_}F SERVECE
{Tln's section shom‘rf nor bcfiler? winn die conn lenient required by Fed. R. Civ. P. 45.)

i received this subpoena for (mune of individual nmi !iiie, ifrm_\‘} BRLT"§`ANY STURTEVANT on (o’o!e) No\' ?.., 2€)§7‘
3:50 pm.

 

i served tito subpoena by delivering n copy to the named intiividnoi us i`nfiows: SEE, §ELO__\§ on (rinie) :_l:`tt_e:
Nov 07 20¥ 'i’: or

I::] I returned the subpoena unexecuted because

Uniess the subpoena was issued on behalf of` tile limited States, or one oi` its officers or agent§, I have also tendered to
the witness the fees for one dzty`zs attendance and tile mileage nilowed by lnvt". in the amonni ot` ii 3(;.77.

l\/Ey fees arc $ m for tntvei and ii for services, for a ton-rf of 55 SS(}.UU=

 

l declare under pennity of` perjury that misinformation is true

Detc; NOVEMBER S, 2017
Bff}aftm ‘l‘,. PO;MVoC/ft,
Sert-‘er's signatorin

STEPHEN T. POPOVECH R-()o_io€i”f

 

f’i*ioied name and rifle

AC.`E Executive Serviccs. LLC (NV #2€)2§€)
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LAS VEGASt NV 89}23

702 9£9-72.23

lob: E"/"FQ?.{}S

 

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Atitiitionzil information regarding encompth service cic.:
i) Unsnccessi`nl ./-`tttcmpt: Nov 5, ?.Ui"?. 937 ann PST en 7615 CORDITE RD. LAS VEGAS, NV 391'1"3

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2) Soccessl"ul Atfetnpt: Nov 7, 201 7, 9;43 arn PST itt 701 5 C()RF)ET§§ RD\ LAS VEGAS, N\/ S‘Ji'?ii received by BRITTANY
STUR“E`EVANT. Age: Q{is; Ethnicity: Ceo<:asinn; Gender: Femoic; Weigi“tt: i40; iieigi‘tt: S‘E(i“; Hziir: Blacl<;

 

 

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EXHIBIT C

 

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LAW OFFICE ()F TODD j. l‘iROUNER, P.C.
its NOR’I`H GRl~ll-`;i.l§\' i\ ViiNlili
fil-IAPPAQUA` NliW \’{)l`ilt root t-
(it t-1-) ;>.‘is~.~'n<oo

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Doccrnbor 6, 20¥ ?
VIA EMAIL ANB FIRST CLASS MAIL

Ms. Briitnny Sturtcvnnt
7015 Cordiic Road
Las Vegns, Novnda 891 78

Rc: Docs v. l,udwigscn
Dcar Ms. Stttncvant:

I*`ur£her to our telephone conversation yostcrday, l understand that presently you arc
unable io confirm your availability for your deposition on Deceinbcr IS, 2017, in Las chns.

l niso understand that you are seeking iegnl representation concerning your Subpoona, and
get back to inc on Docembcr ]4, 203 7, to confirm your availability Howcvcr, this would leave
ns with only four days to confirm thc deposition on Dccen'iber 18, 2017, Which is not sufi"icicnt.

Conscqucnily, please provide us with dates of your avail:cibilit§,rj on Monday or Friday, in Januai'y
202 8.

I*`inaily, piease feei free to have your attorney to contact us concerning the foregoing
I look forward to hearing from you,
Bcst regards

Vcry truly yours,

.lulin Gailo
Exccutivc Assistant to Todd .l. Krouner
"P`FKJ'.it;

cc: Cari'd Vai“riaic, i£sq.
iviichncl But‘l<c, Eso.
{via c-»rnail only)

 

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EXHIBIT D

 

Case 2:18-cv-00554 Document 1 Filed 03/27/18 Page 25 of 100

Julia Gallo

From: Julia Gal|o

Sent: Thursday, january 11, 2018 1130 AM

To: 'brittanyjoyinto@grnai|.corn'

Cc: Todd l. Krouner

Subject: Does v. l.udwigsen

'fracking; Recipient Delivery Read
'brittanyjoyinfo@grnail.com'
Todd J, Krouner De|ivered: l/El/ZUIS ll;l{] AM Read: 1/11/2018 1232 PM

Dear Ms. Sturtevant:

As I indicated in my voioemail, February 19 and February 23 for your deposition do not work for all of the
attorneys in the case

Please advise whether or not you are available the week of Febrnary 12, 2018 (any day, not just Monday and
Friday). Otherwise, please provide more dates for your availability

Best regards,

lulia Gallo
Executive Assistant to Todd J. Krouner

Law Oftice of Todd J. Krouner, P.C.
93 North Greeley Avenue
Chappaqua, New York 10514
Telephone: (914) 238-5800
jgallo§ci)krounerlaw.com

WWW.KrounerlaW.COm

Tltis Cornmunioation (including any attachments) is intended so|eiy for the reoipient(s) named above and may oootain
information that is confidential, privileged or legally protected r’»\ny unauthorized use or dissemination of this
communication is strictly prohibited |f you have received this eommonieation in error, please immediately notify lite
sender by return e-rnail message and delete all copies of the original Comrnunioation. Thanl< you for your cooperation

 

 

 

 

 

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luna Ga_i*° _ _ ___ _

From: lulla Gailo

Sent: Friday, lanuary 26, 2018 5:51 PM

To: brittanyjoyinfo@grnai|.com

Cc: Todd J. Krouner

Subject: Does v, l_udwigsen

Tracking: Re€§piel“ Deli\|'el`y REad
brittanyjoyinfo@gmai|.com
todd J. Krouner oelivr.~red: 1/26/2018 5;51 PM Read: 1/26/2018 6_-23 Plvi

Dear Ms. Sturtevant:

All attorneys of record are available for your deposition in Las Vegas, Nevada, on March 27, 2018, March 28,
2018 or March 29, 2018.

Please advise Which of these dates is preferable for you.

Best regards,

.lulia Gallo
Executive Assistant to Todd .i. Krouner

Law Oftice of Todd J. Krouner, P.C.
93 N`orth Greeley Avenue
Chappaqua, New York 10514
Telephone: (914) 238~5800
jgaliogci)krounerlaw.com

Www.Krounerlaw.corn

Tttis communication (inctudino any attachments) is intended solely ior tire recipient(s) named above and may contain
information that is contideotial, privi§eged or legally protected Any unaut§'iorized use or dissemination ot this
communication is strictiy prohibited lt you have received this communication in error, please immediately notify the
sender by return e~mai| message and delete ali copies ot the origina§ communication Thant< you for your cooperation

 

Case 2:18-cv-00554 Document 1 Filed 03/27/18 Page 27 of 100

.lulia Gallo

 

 

M W
From: Julia Galio
Sent: Thursday, February 08, 2018 5:32 PM
To: brittanyjoyinfo@gma§l.com
Cc: Todd }. i(rouner
Subject: Does v. Luciwigsen
Tracking; Recipient Deiivery Read
brittanyjoyinfo@gmail.com
Todd J. :<rouner Delivered: 2/8/2018 532 PM Read: 2/8/2013 5:50 Plvi
Jessica Yanefski Delivered: 2/8/2018 5:32 PM Read; 2/8/2018 6:37 PM

jreisman@rsnvlaw.com

Dear Ms. Sturtevant:

Further to my assistant’S voicemails on _ianuary 29, 2018, February 6, 2018 and today, and mindful of our court
conference tomorrow, please advise Whether any of March 27, 201 8, March 28, 2018 or March 29, 2018 are
convenient for your deposition

lf we do not hear from your by tomorrow, We shall be forced to seek the assistance of the Federal Court to
compel your deposition

Very truly yours,

Todd Krouner (from the desk of Julia Gailo)

 

Julia Gallo
Executive Assistant to Todd J. Krouner

Law Of:tice of Todd J. Krouner, P.C.
93 North Greeley Avenue
Chappaqua, New York 10514
Telephone: (9}4) 238-5800
]'galiogél“/l<rounerlaw.com

Www.Krouner]aw.corn

This communication (inc!uding any attachments) is intended sotety for the reoipient(s) named above and may contain
information tnat is confidential, privileged or legally protected Any unauthorized use or dissemination of this
communication is strictly prohibited if you have received this communication in error, please immediateiy notify the
sender by return e-rnai| message end deiete eli copies oi the original communication thank you for your cooperation

 

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EXHIBIT E

 

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1
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm X
A. DOE, E. DOE, K. DOE, M. DOE,
S. DOE and Y. DOE.
Plaintiffs,
-against- 15 Civ. 7822(€5)(PED)

KURT LUDWIGSBN, in his individual
capacity, KIRSTEN LAMBERTSON, in
her individual Capacity, MICHAEL
G. SCALES, individually and as
President of Nyack COllege, DAVID

C. JENNINGS,

individually and as

Executive Vice President Of Nyack
College, KEITH DAVIE,
individually and as Athletic
Director for Nyack College,

TAYLOR BROWN,

individually and as

Assistant Softbell Coach for
Nyack College, KAREN DAVIE,
individually and as Director of
Human Resources and Title IX
Coordinator for Nyack Coilege,
NYACK COLLEGE and DOES 1~10,

B e f o r e:

Defendants.
______________________ X
United States Courtnouse

White Plains, New York
February 21, 2018

HONORABLE PAUL E. DAVISON,
United States Magistrate Judge

Angela O'Donnell, RPR, 914“390-€025

 

 

 

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A P P E A R A N C E S:

LAW OFFICE OF TODD J. KROUNER
Attorneys for Piaintiffs
93 North Greeley Avenue, Suite 100
Cnappaqua, New York 10514
BY: TODD J. KROUNER
JESSICA YANEFSKI

HAVKINS ROSENFELD RITZERT & VARRIALE
Attorneys for Nyack College
One Bettery Park Pleza, Sixth Floor
New York, New York 10004

BY: MICHELLE L. BOCHNER

BURKE MIELE & GOLDEN LLP
Attorneys for Kurt Ludwigsen
40 Matthews Street, Suite 209
Goshn, New York 10924

BY: MICHAEL K. BURKE

Angela O'Donnell, RPR, 914~390“4025

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THE CLERK: In the matter of K. Doe, et al. versus
Kurt Ludwigsen, et al.

Counsel, please stand and note your appearance for
the record.

MR. KROUNER: Todd J. Krouner and Jessica Yanefski
for the plaintiffs from the Law OEfice of Todd J. Krouner PC.

THE COURT: Welcome, counsel.

MR. KROUNER: Thank you.

MS. BOCHNER: Good afternoon, Michelle Bochner,
Havkins Rosenfeld Ritzerr & Varriale for the Nyack College
defendants.

THE COURT: Good afternoon.

MR. BURKE: Good afternoon, your Honor. Michael
Burke, Burke Miele s Golden, on behalf of Kirk Douglas.

THE COURT: Good afternoon, Mr. Burke.

All right, we are gathered for what ls, by my rough
count, twentieth discovery related conference in this case, the
fifth in person of such garhering; and it is in response to a
series of communications that 1 think began with Ms. Bochner's
letter dated February Bth and there are a series of letters
back and forth since that first letter.

So 1 guess you go first, Ms. Bochner.

MS. BOCHNER: Thank you, your Honor. The issue
currently at hand is certain emails. Back in July 2017 and

earlier, as far as the start of discovery, defendants requested

Angela O'Donnell, RPR, 914~390-4025

 

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from plaintiffs all of their email communications. We were
provided with snippets of various emails and we were not
provided with any privilege logs.

Recently, in closing out discovery, our office came
into the possession of all of the plaintiff‘s Nyack.edu emails.

THE COURT: How did that happen?

MS. BOCHNER: Our client is in possession of the
Nyack.edu emails on their server. According to the handbook,
they have access to these emails. Plaintiffs never demanded
copies of their own emails from us. ln contrast, we did demand
copies of all of plaintiff's emails from the plaintiffs and
were not provided with complete copies.

THE COURT: Do they have a server, as far as you
know?

MS. BOCHNER: Well, the plaintiffs have access to
their own emails so -- they all testified that they had access
to their Nyack.edu emails and could go on and delete them, send
emails from them at their depositions, which is then when we
sent demands of each plaintiff for their Nyack.edn emails.

THE COURT: Go ahead.

MS. BOCHNER: So in the light of continued
disclosure, we produced upon plaintiff's counsel all of their
Nyack.edn emails along with a privilege log --

THE COHRT: Let me go back to something. You think

that notwithstanding the fact that your client is in control of

Angela O‘DOnnell, RPR, 914“390“4025

 

 

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5

the server that these individual plaintiffs ~~ what's your
basis for thinking they have access to all their prior emails?

MS. BOCHNER: They testified that they have access to
their emails.

THE COURT: To all their prior emails?

MS. BOCHNER: They have ~»

THE COURT: l mean ""

MS. BOCHNER: Yes. Aside from ~~

THE COURT: Aside from what --

MS. BOCHNER: -- what they deleted.

THE COURT: Right. But, you Know, many people
customarily delete their emails after they read them or
after ~~ periodically; isn't that right?

MS. BOCHNER: l don't believe we produced emails that
were deleted. We produced emails from the Nyack.edu email
address.

In any event, we demanded this on plaintiff.
Piaintiff did not respond with, plaintiffs do not have access.
They responded with snippets and certain emails that they chose
to provide in response to our demand. They did not provide a
privilege log to emails which are presumably within their email
account. We produced all the non~privileged emails to
plaintiffs along with a privilege log which contained
approximately 190 emails which are between various plaintiffs

and plaintiffs' counsel. These emails were not reviewed,

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however, based upon the clear language of the Nyack College
handbook, as well as case law in this circuit, the emails are
not entitled to attorney~client privilege because any privilege
was waived by using these.

THE COURT: All right, before we get to issues of the
privilege and whether it was waived, l think l'd like to hear
from plaintiffs1 counsel on the issue of whether this is simply
filling in material that was demanded from plaintiffs and not
produced.

MS. YANEFSKI: Ms. Yanefski, your Honor, for the
plaintiffs.

THE COURT: Sure.

MS. YANEFSKI: The short answer is no. The
recollection by Ms. Bochner that her office requested the
emails from the plaintiffs of their Nyack.edu accounts at the
depositions is not my recollection upon reviewing the record.
My recollection is that plaintiffs ~~

THE COURT: Was it your recollection or have you
reviewed the record?

MS. YANEFSKI: 1 reviewed the record. That
plaintiffs are the ones who requested the Nyack.edu email
accounts at the depositions because defendants, Nyack College,
had custody and control over those emails and that Mr. Burke
then joined in on that request.

But simply it's preposterous and confusing where

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Ms. Bochner admits that Nyack College had custody and control
of these emails at all times and she doesn't proffer any sort
of scenario where they had not been accessible and now are
accessible. They were theirs at all times, and regardless of
whether or not the plaintiffs ever were asked to produce, which
l don't believe that they were, these emails, these are emaiis
that, if defendants ever intended to use them, they should have
put them in their Rule 26(a) disclosures.

THE COURT: l get that, and what l'm trying to figure
out is whether this represents, this eleventh hour, 11:59 hour
disclosure of these emails from Nyack College's custody and
control, whether that represents an outrageous discovery
violation by defendants or whether on the other hand they‘re
backing and filling something that was requested from
plaintiffs that plaintiffs could have produced and didn*t
produce.

MS. YANEFSKI: That was requested of plaintiffs?

THE COURT: Yes.

MS. YANEFSKI: I would say that your Honor is correct
with the former that this is an outstanding eleventh hour
discovery production where plaintiffs requested the emails of
defendants at the time of their deposition, and further,
plaintiffs requested in our first discovery demand all
documents and communications by the Nyack College individual

defendants, anyone in that administration, and we were told

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that there were no documents responsive to the request, we
never saw those ~~

THE COURT: That's a separate issue though. 0kay, l
hear you on this.

Ms. Bochner, this is knowable. ls this something
that defendants demanded or not?

MS. BOCHNER: Your Honor, defendants did demand this
on duly 17, 2017 to K. Doe in post-deposition demands.

THE COURT: You‘re talking very fast.

MS. BOCHNER: Sorry, l apologize. July 17, 2017,
defendant served post“deposition demands on K. Doe, which,
demanded any and all email correspondence from K. Doe‘s Nyack
College accounts. That was just to K. Doe. Demanding ~“
defendant was never served with demands for plaintiffs' own
emails. Plaintiffs testified that they had their emails. We
were provided with certain emails in response to this demand,
emails which were picked and chosen by plaintiffs' counsel.

THE COURT: You demanded all emails --

MS. BOCHNER: Correct.

THE COURT: -- that they -~

MS. BOCHNER: From the Nyack College email accounts
and plaintiffs.

THE COURT: And what did plaintiffs *» l mean, that
on its face sounds like an outrageously broad demand. What was

the response?

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MS. BOCHNER: Plaintiffs provided emails that related
to the 2014/2015 softball and the individuals whom they
believed this was related to.

We believe that they‘re all relevant because of the
emotional damages and the claims that plaintiffs are making as
far as damages makes all of these emails discoverable to see
how they were affected in their life when they are testifying
that their school work was harmed, their relationship with
their friend, their relationships with their family, their
relationships with their church and their religion
{unintelligible) all of their emails and the way they were
communicating and corresponding with others at issue.

lt was p1aintiffs' burden to produce their emails,
aside from the demand that was served upon them, it was
plaintiffs‘ burden to produce their own emails according to
Ru1e 26, and the fact that they picked and chose ~~

THE COURT: It's their burden to produce their own *~
what does that mean according to Rule 26?

MS. BOCHNER: It's a discoverable item.

THE COURT: Every time in every case Rule 26 requires
everybody to serve ~* to give the other side all their emails?

MS. BOCHNER: When we requested all of their emails.

THE COURT: What did plaintiffs‘ counsel respond to
that request?

MS. BOCHNER: 1 don't have the formal response in

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front of me but they did not "~

THE COURT: ln other words, did they interpose
objections and say, we're giving you the ones that involve the
softball team or did they say, these are all of them and only
gave you some of them.

MS. BOCHNER: No, they only produced some emails.

THE COURT: But did they interpose objections?

MS. BOCHNER: They did interpose objections, and then
they provided certain emails. We don't know which emails are
left out ~~

THE COURT: So your remedy at that time would have
been to write me a letter saying they‘re improper, in your
view, they‘re improperly withholding emails about other
subjects that might shed light on their damages or whether
they‘re -~ been affected in the ways that they claim. lsn't
that right?

MS. BOCHNER: That's correct. We went back and forth
on the issue many times as far as social media records, letters
back and forth as far as emails and what was being disclosed,
and we kept getting additional responses, here's further
emails, here's further social media requests, and, no, we did
not come back and burden the Court as far as the emails. lt
wasn't our intention to do a eleventh-hour email drop, it's
that we came into possession of these emails mm

THE COURT: You keep saying, we came into possession

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of them as though somebody left them on your doorstep at
midnight or something. Your client had them, they were on the
server. You, for whatever reason, didn‘t access that until the
end of discovery.

MS. BOCHNER: We did not. The way that it came about
that we did seek out and access the emails, because we were not
served with a demand by plaintiffs for these emails, is that at
the deposition of a non“party “~ are we using -- K with a --
are we using {inaudible).

MR. BURKE: l guess K.L.

MS. BOCHNER: K.L.

THE COURT: Who is not Kirsten Lambertson.

MS. EOCHNER: Correct. ls not Kirsten Lambertson,
who is a non --

MR. BURKE: Or Kurt Ludwigsen.

THE CGURT: Or Kurt Ludwigsen.

MR. KROUNER: Or Y. Doe with the same initials.

THE COURT: Okay.

MS. BOCHNER: So at her deposition, the subject of
emails came about in her Nyack.edu emails and Ms. Varriale, the
attorney from my office who was doing the deposition, asked her
that she would be requesting copies of her Nyack.edu emails,
and Ms. K.L. responded, you have those, you should be able to
access them, upon which Mr. Krouner said, yes, you should be

able to get access to your own emails.

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lt was at that time we reached out to the lT
department at Nyack College and we asked them¢ do we have
access to these without authorization.

THE COURT: When was that?

MR. BURKE: That was recent.

MS. BOCHNER: lt was in November or December of this
year was this deposition. We reached out to the IT department
to determine whether we could, in fact, get the Nyack.edu
emails without any authorizations from plaintiffs since they
were never provided with authorizations, and the IT
department *~

THE COURT: Had you requested authorizations for the
emails on the server?

MS. BOCHNER: We didn‘t because we were never asked
to produce the emails, so we didn't seek out authorizations to
provide plaintiffs with their own emails, presumably they had
access to their own emails which is why we demanded their
emails from them. When we did get possession of these emails
after reaching out to the lT department, we disclosed them.

THE COURT: And within that universe of thousands of
emails is nestled this smaller selection of emails which you
have identified as potentially privileged.

MS. BOCHNER: Correct. And l will admit that many of
the thousands of emails are not relevant, they don't involve

softball or what took place in 2014/2015.

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THE COURT: So if they‘re not relevant, you really
couldn't have expected plaintiffs to produce them.
MS. BOCHNER: Except we did demand all emails.

THE COURT: Even though you just said they weren't

relevant.

MS. BOCHNER: Correct.

MR. BURKE: Only after review though.

MS. BOCHNER: Only after review. lt was our *~ we
demanded them. lt's now our opinion that many of them aren't

relevant, but plaintiff didn't give us that opportunity to
determine that. Plaintiff made the decision on their own, as
well as deciding on their own not to produce a privilege log.
They chose just not to tell us about emails that did relate to
the lawsuit likely because of the dates of the emails. They
just opted to not provide anything to us.

Now all we can go on the privilege emails is the date
of the email, and our presumption is that, if something was
sent between 2014 and 2017 from a Nyack dot emailr it may
relate to ~~

THB COURT: And it goes to Mr. Krouner‘s office.

MS. BOCHNER: Correct. Though that's all we know
right ~~ that's all we know about these emails is the date of
them and who they‘re to and who they‘re from. We have no idea
the rest of the subject nature of them.

THE COURT: Right. But you don‘t have any reason to

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think that they have any other relationship apart from
attorney~client.

MS. BOCHNER: No, apart from the lawsuit. Oh, no,
except the position, our argument that any emails sent through
the Nyack email server have waived the privilege.

Plaintiffs all testified that they had other emails
which, l'm not arguing if they've waived any privilege on
private Gmail accounts or Yahoo accounts, which they all
testified to having, and we also requested emails from those
accounts, it's just m~ and there was no privilege log provided
for that either, but specifically the Nyack.edu emails are not
entitled to any privilege and they voluntarily waived that
privilege by using that email.

THE COURT: What l'm still stuck on is why is it okay
for Nyack College to sit on this trove of emails and based on
the mn if it is true, as apparently is stated in the student
handbook, and l'm looking for where you quote this, if it is
true that extra copies of all data are kept in the routine
process of back-up and that consequently deletions of online
files by a user does not mean that no other copy remains, that
that suggests to me, if it's true, that your client has a more
comprehensive collection of these emails than could likely be
found anywhere else.

MS. BOCHNER: Yes, your Honor, but it's not our

burden to provide plaintiff with this discovery that wasn't

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requested from us. These are -- this is something that we
requested from plaintiff.

THE COURT: Well if it's something that you want to
use, then it‘s supposed to be disclosed in initial disclosures
or at least described there and, you know, what you're telling
me is that counsel for Nyack College never knew that they had
all this until sometime presumably very shortly before you
turned it over to Mr. Krouner.

MS. BOCHNER: Correct. We continued to ask for these
emails from the plaintiffs' attorney.

THE COURT: l want to hear from plaintiffs' counsel
about your version of how this issue of plaintiffs' Nyack.edu
emails was handled.

MS. YANEFSKI: Very briefly at the outset, plaintiffs
don't want ~~ don't care about these emails, we don't want
these emails that are currently being produced in the action we
would like them precluded because of timing.

So it's outrageous that defendants didn‘t bring these
up in their Rule 26(a) initial disclosures, and they should be
time barred on that grounds alone, and then where plaintiffs
then demanded access and emails to the defendant
administrators, Nyack.edu emails ~-

THE COURT: Again, let's leave the administrators out
of it.

MS. YANEFSKI: Sure.

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THE COURT: Let's focus on the ones that are
generated by the plaintiffs.

MS. YANEFSKI: Right. So the plaintiffs are not in
the same position as defendants to have access to and be able
to produce these emails where defendants say in their handbook
that they have them on hand ~»

THE COURT: 1 get that, so defendants requested that
your clients produce all of their emails. You objected to that
but said, we‘ll give you the emails that have to do with the
softball team; is that what happened?

MS. YANEFSKI: I apologize that l don't have more
specific answer about that for your Honor, because this is the
first that I'm hearing from defendants' counsel about this
issue being one of plaintiffs' deficiencies. That wasn't
mentioned in the first letter to the Court or in the amended
letter to the Court that was submitted last Wednesday. The ~~

THE COURT: I think it's in there somewhere, although
it's buried, but l regard this as very consequential. If
plaintiffs received these demands, produced some emails,
acknowledged that there were others that were being withheld on
relevance grounds, and if that was the subject of some back and
forth, that‘s one thing. lf on the other hand, as Ms. Bochner
is suggesting, it was demanded and just never produced by
plaintiffs, that's something else again.

MS. YANEFSKI: As far as plaintiffs are aware, we*ve

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produced all relevant and responsive email communications to
defendants in response to all of their demands.

THE COURT: Again, relevant as defined by plaintiffs,
but transparently defined, is that what you're telling me?

I think, in order to resolve this issue, l need to
see the correspondence back and forth on this.

MS. YANEFSKI: Of courser and we would welcome the
opportunity to supplement this critical issue with your Honor.

THE COURT: l think that's what we have to do,
because l think that it's going to come out differently
depending on what those documents reveal. l don‘t think it's
okay for defendants to sit on a comprehensive set of these
emails, including materials that plaintiffs have refused to
produce on relevance grounds, and quite possibly materials that
plaintiffs may not even have access to anymore, and then pulled
them out of the hat at the eleventh hour.

On the other hand, if plaintiffs were in violation of
their discovery obligations, l suppose it becomes somewhat more
justifiable for defendants to go look elsewhere.

So I guess what I need is further briefing on that
issue. l would like to hear from defense counsel, l'm sorry
from plaintiffs' counsel on this question of nw which l may or
may not have to reach, which is the question of whether
deploying this college email system in light of the disclaimers

that are contained in the rule book or the student handbook

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operates as a waiver of the attorney»client privilege. That
you can address right now.

MS. YANEFSKI: Oh, sure. No, it's not a waiver of
the attorney»client privilege. The defendants cite to a case
that they contend is controlling in the Southern District, two
cases actually, In Re: Asia Global Crossing and In Re: Reserve
Fund Securities and Derivative Litigation. The test in those
actions is a subjective one of what was the parties‘ reasonable
expectation of privacy with the understanding of the
complexities of an email server. The business executives in
those two cases are going to have a very different expectation
of privacy and an understanding of the complexities of modern
communication than will college students who are just entering
the world of CC and BCC and sensitive communications for the
first time. The result is very different, and the fact is that
our clients did not have an expectation that they were waiving
any right to privacy over their emails. The --

THE COURT: Well, l mean, if they‘d read confidential
information relative to personal matters, internal
investigations and litigation should not be transmitted, users
should have no expectation of privacy while using
institution-owned or institution-laced equipment, information
passing through or stored on institution~owned equipment can
and will be monitored. Nyack College maintains the right to

monitor and review internet use and email communications sent

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or received as necessary, i.e. for troubleshooting, retrieving
business»related information, legal requests, et cetera. So if
they read that, l'm not sure they would have had an expectation
of privacy.

MS. YANEFSKI: lf they read that, your Honor, and we
don't know that they did. But if your Honor is of the opinion
that the privilege between attorney and client is waived via
transmission of such emails over the Nyack college servers,
then we would seek those same emails between Nyack employees
and their in~house counsel or out"of~house counsel on the email
servers on the same grounds.

THE COURT: Well but it's too late for that; isn't
it?

In any event, what l need -- and l was fully
expecting to rule on this question today, but Ms. Bochner has
introduced an additional element into it here. What l really
need is a chronological, walk~me”through what was demanded and
what the response was. l don't need to see all of everything
that was produced, but if there were objections interposed and
then some kind of a meet and confer resolving that,r l need to
know what it was and l think it has to be done with reference
to the actual written communications and not every recollection
now.

Fair enough?

MS. YANEFSKI: Yes, your Honor.

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THE COURT: Ms. Bochner, the other issue relates to
this Allyssa Perez?

MS. BDCHNER: Yes, your Honor. Ailyssa Perez --

MS. YANEFSKI: I'm sorry, before we depart this
issue, may 1 just nonfirm that Ms. Bochner's office will he
making the opening salvo on these papers and we're provided
with the opportunity to respond since this is Ms. Bochner‘s
motion?

THE COURT: I don't really want argument. l want to
know what plaintiffs asked for and what -- I'm sorry, what
defendants asked for and what plaintiffs respond. lt the two
sides could get together and just create a sort of call“in
response, that would be wonderful. lf you can't work together
on that, then, you know, just send me what you think the back
and forth was.

MS. YANEFSKI: I appreciate the clarification.

THE COURT: I’m not looking for a hack and forth or
argument type or thing. I just want to know who said who -~
what to who, and you can work out how to do it, and l think if
there are going to be two submissions, they should be
simultaneous.

MS. BOCHNER: Yes, your Honor.

THE COURT: How much time do we need to do something
like that, a week?

MS. BOCHNER: A week.

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MS. YANEFSKI: A week is fine.

THE COURT: A week.

So, back to you, Ms. Bochner. Ms. Perez.

MS. BOCHNER: The other issue relates to emails and
documents that were demanded of plaintiffs' counsel between
them and Ms. Allyssa Perez, a non~party witness in this case

who was produced for a deposition following a subpoena by

 

 

Mr. Krouner. Ms. Perez testified about various emaii
correspondence and documents that were provided by herself to
plaintiffs’ counsel and individuals in his office.

We served demands on plaintiffs' counsel for emails,
documents provided from Ms. Perez to piaintiffs' counsel that
she testified about at her deposition, and the response we got
was that these are attorney work product and they would not be
turned over. We were given a privilege log from plaintifts'
counsel with 11 items that said attorney work product doctrine.

Foilowing the deposition of Allyssa Perez, we also
subpoenaed documents from Ms. Perez, which we have not received
a response from; however, it's our position that there is no
privilege between Mr. Krouner and this non“party, Allysssa
Perez, based upon case law that‘s referenced in my letter that
Ms. Perez is not a party to the action, she has no privity with
Mr. Krouner, she ~~ they cannot assert work product over emails
sent and information that Ms. Perez provided to plaintiffs

counsei. She has no common interest as far as the parties in

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this lawsuit. She, during her deposition testimony, made no
claims concerning the subject matter of the lawsuits and we
would therefore ask that the emaiis which have been included on
the privilege log and provided to Mr. Krouner between Allysssa
Perez and plaintiffs' counsel are not privileged, are not
entitled to attorney work“product privilege and should be
turned over to our office in the course of discovery and in
response to the demands that we served.

THE COURT: Who wants to field this one?

MS. YANEFSKI: Maybe I can put this to rest very
easily, your Honor. lt's our understanding that Ms. Perez
produced all of the emails that were subpoenaed from her today.
I don't know if you've seen those yet, and that she didn't
claim privilege. So l think that the issue is moot.

MS. BOCHNER: Your Honor, we have yet ~- we have yet
to receive anything, and, again, this only adds to the issue
that Ms. Perez was not a non“party. She clearly is in
communication with plaintiffs' nw

THE COURT: Well, she is a non~party.

MS. BOCHNER: 1 mean that she is a non»party. She
clearly has a relationship that plaintiffs' counsel appears to
know that she provided us with certain documents, and that
doesn‘t address the issue that there's no attorney work
product.

THE COURT: 15 this --

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MS. BOCHNER: And plaintiffs' counsel should have
given us this information.

THE COURT: There are ll specified documents on
that --

MS. BOCHNER: Privilege log.

THE COERT: -- privilege log.

MS. BOCHNER: Yes.

THE COURT: if she's given you all 11, does that put
this to rest?

MS. BOCHNER: Assuming that it's complete copies of
everything, which there‘s really no way to know whether
Ms. Perez has provided us with complete copies. lf all the
pages are the same -- all we have is number of emails, we don't
have the number of pages in those emails. So if we can be
given some kind of information to compare and know that the
information that Ms. Perez has allegedly provided us in
response to the subpoena is exactly the same as the information
that Mr. Krouner has, then that would likely put the issue to
rest.

MR. KROUNER: Your Honor, l'm standing because l'm
looking at an email from what appears to be Allysssa Perez to
Brandon Smith, who is Ms. Bochner's paralegal, describing the
attachment of a zip file with the subpoenaed records what
appears to be l:30 p.m. this afternoon.

MS. BOCHNER: Well, if that's the case mm

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THE COURT: Well -- right.

MR. KROUNER: Not *" not to harp on the timing and
the fineness of who saw or read what, and not to step on my
associate's representation on this issue, but the short point
is two: One, l believe the materials, as of this moment, have
been provided to defendants‘ counsel by Ms. Perez, period, full
stop; two, in any event, l assert a work product doctrine
privilege with respect to my communications with anybody
concerning the subject matter of this lawsuit in the absence of
a showing of hardship to the defendant Nyack College in this
instance that they cannot otherwise get the material.

THE COURT: You know, it seems to me that you're
arguing a completely moot point here if Ms. Perez has turned
these materials over to defendants' counsel because clearly
they‘re no longer confidential.

MR. KROUNER: That is the headline, your Honor. And
we've been down this path before with another non-party witness
in the form of Barbara McCarthy, and we sort of have a rhythm
in this case in terms of defendants asking for materials from
me concerning communications with non~parties and
simultaneously subpoenaing and obtaining those materials from
the third party.

50 I‘ll take your Honor's observation and my
indication of what I‘m reading in the email that the materials

have been mm

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THE COURT: All right. l think that, if the
materials »» it seems to me unlikely that Ms. Perez has not
provided the full panoply, but if there's something she's held
out ~~ do you know if she's held anything out?

MR. KROUNER: I'm not aware of ~- l am not aware of
the assertion of any privilege on the part of Ms. Perez or any
withholding of materials that have been requested of her
pursuant to Nyack College's --

THE COURT: You're copied on what she's sent to
Mr. Smith?

MR. KROUNER: Yes.

THE COURT: So you can go in there and figure out
whether she left anything out.

MR. KROUNER: We have that capacity.

THE COURT: But l think, in light of this disclosure
by the witness, l am unwilling to find any privilege associated
with these communications, and at that point it would become a
selective waiver problem and so forth, so if there's anything
that's left out, you should give it to Ms. Bochner.
Understood?

MR. KROUNER: Understood, your Honor.

MS. BOCHNER: Your Honor, just to add on this point
as far as non“party disclosures, we also served upon
plaintiffs' counsel which we -- l believe they requested

additional time to respond by next week. We served a second

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demand for information which also requested emails,
communications back and forth between plaintiffs‘ counsel and
various of the other non~parties.

Yes, we also served subpoenas on these individuals.
We have yet to receive any responses to these subpoenas which
were served over 30 days ago. So, again, the same issue would
come up that these are not entitled to attorney ~~ presumably
we're going to be provided with a privilege log regarding these
communications from Mr. Krouner's office that look similar to
the privilege log from Allyssa Perez that says attorney work
product doctrine. And in that matter, we have not yet been
provided nor have we received any indication that we will be
provided with information in response to the subpoena. So we
would again have to argue that there is no attorney work
product for these individuals for documents that may have be
sent by non-parties to Mr. Krouner related to the lawsuit
related to testimony, preparation for testimony.

Again, this is premature because we've yet to receive
a response from either Mr. Krouner's office or response to
these well overdue subpoenas.

THE COURT: Who are these people?

MS. BOCHNER: Barbara McCarthy was a non~party, the
mother of a non»party; K.L.; George Richards, the parents of
one of the plaintiffs, M. Doe; Glenn Manger, the parents of one

of the mm A. Doe; Doug Yano, the father of K. Doe mw

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THE COURT: Well, you know, this is becoming more
complicated because, frankly, l could pretty easily see a
distinction between a parent of a plaintiff who might very well
have a common interest with the plaintiff as distinguished from
somebody like Ms. Perez who seems to be a stranger to this
controversy.

MS. BOCHNER: Understood, your Honor. So we have two
individuals who are not, who can‘t conceivably have a common
interest, K.L., who's a non-party, she was a student at Nyack
College, she has no claims in this lawsuit, and Barbara
McCarthy, whose daughter was a student at Nyack College, not a
party to the lawsuit who testified ~»

THE COURT: Right, although Mr. Krouner explained to
us last time we were here that with respect to Ms. McCarthy, if
l recall correctly ~“ and you'll correct me if l‘m wrong,

Mr. Krouner -~ there was at least preliminary discussion of
Ms. McCarthy or her daughter who attended Nyack College
becoming a plaintiff or something.

MR. KROUNER: Your Honor*s recollection is correct.

MS. BOCHNER: That's correct, your Honor, but
Ms. McCarthy‘s daughter is not a plaintiff. As far as we're
aware, there are no actions, and Ms. McCarthy's daughter is an
adult, therefore, any potential lawsuit by her mother we
question what kind of lawsuit that would be and whether »~

THE COURT: hgain mm

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MS. BOCHNER: -- what kind of basis there is.

THE COURT: Again, l have to look at the cases, but
it would be easy for me to see how a parent/daughter might
create some kind of a common interest that would not be present
in a different sort of relationship.

ln any event, it's helpful to preview these issues
for me. ln light of the fact that we're here talking about
them, maybe l can rule on the papers, but l'm not going to rule
on it in an advisory way, because you*re telling me that you
haven't gotten responses yet, you haven't seen a privilege log
and you don't know whether these witnesses are going to
unilaterally respond to these subpoenas.

MS. BOCHNER: That*s correct.

THE COURT: So l think what you're going to have to
do is write to me if you need a ruling.

Mr. Krouner or Ms. Yanefski, is there anything else
you want to say on this topic?

MR. KROUNER: Just one point of clarification. The
information is slightly better that l believe plaintiffs'
formal response to those demands, which Ms. Bochner was
gracious enough to extend, was met yesterday by our office, so
she should at least have our formal responses.

THE COURT: All right, so you'll let me know.

Mr. Krouner, you assert a work product privilege; do

you acknowledge that that is somewhat intentioned with Judge

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Rakoff's opinion in this Gupta case?

MR. KROUNER: l must confess l'm not familiar with
Judge Rakoff's decision.

THE COURT: Okay, this is a decision that defense
counsel discussed at some length in her letters. l don't know
if counsel --

MR. KROUNER: l'm not prepared to speak to that.

THE COURT: Okay. All right. SO l will await
further information on that. 1 will hear from counsel in a
week's time filling me in on the record with regard to requests
and responses.

With regard to these emails, l usually try to rule on
these things from the bench, but it seems to me like l don't
have enough information to do so, so l‘m going to reserve.

Anything else we can productively talk about today?

MS. BOCHNER: Your Honor, just checking in on the
status of Mr. Krouner's motion for leave to amend because in
light -- if it's going to produce or provide additional
depositions that are necessary, we're obviously storming
forward doing lMEs and expert exchange m~

THE COURT: Plaintiffs' counsel has assured me that
plaintiff will not be seeking any additional discovery on the
basis of the amendment if granted. Are you telling me that wm

MS. BOCHNER: Correct, which we've set forth in our

opposition papers that we may need additional depositions of

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the plaintiffs because the damages issue and specifically how
they were damaged by these new claims against Kirsten
Lambertson was not at all delved into. All of the damages
revolved around Kurt Ludwigsen's conduct and none of it related
to Ms. Lambertson's conduct.

THE COURT: You know, you're asking me, I'll get to
it when l get to it.

MS. BOCHNER: 1 understand.

THE COURT: If we have to -- if that means other
shoes drop, we'll deal with that. We'll cross that bridge when
we come to it.

You're on your feet, Ms. Yanefski.

MS. YANEFSKI: l am. lf your Honor is done with
Ms. Bochner on this topic, l just didn't want to miss the
opportunity to bring up another topic.

THE COURT: l'm listening.

MS. YANEFSKI: So we have two depositions in this
action that haven’t occurred, all the others have occurred.

The first is schedule for tomorrow, David Julien, that should
go as planned, but the second you'll recall that we had a
subpoena for the deposition of Brittany Sturtevant “-

THE counT: A/k/a nliie sara you actually heard about
so much.

MS. YANEFSKI: Right, in Nevada, and our law clerk

just spoke yesterday with the clerk of the court in the

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District of Nevada who said that they only had ancillary
jurisdiction but that they would not be able to begin an
ancillary action or that we wouldn't be able to begin an
ancillary action merely to compel the attendance of a witness
at a deposition. So The court‘s advice from that federal court
in Nevada was that we should make the motion to compel here in
the Southern District, and then this court could request that
that motion be transferred to the District Court in Nevada.

So if your Honor is amenable, if that comports with
the procedures of the Southern District, we anticipate making
this motion because the trail of communications has gone cold
as it were with Ms. Sturtevant, who has not responded to any of
our phone calls, the latest being February Bth.

THE COURT: First of all, l take it there's no ~~
defendants have no position on this particular ~~ you don't
have a dog in this hunt.

MR. BURKE: l don't know how relevant ~“ well,
they ~» they can choose who they want to depose, your nonor.
lt seems they‘re going through great pains to try to depose
somebody in Vegas but ~~

THE COURT: Well, this is somebody who may not be
available at trial, and you know whose name has come up --

MR. BURKE: But then they‘re not going to be able to
get the non~party testimony in anyhow. That's a different

issue at a different time.

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THE COURT: That‘s a different issue at a different
time.

What I really was trying to suss out is any motion
that they make to compel Ms. Sturtevant to appear for a
deposition is going to be unopposed by defense counsei; is that
a fair statement?

MR. BURKE: Yes, so long as "~ and they've been
gracious enough, talking about scheduling.

THE COURT: Right.

MR. BURKE: So that, if it ultimately comes to that,
that we'll work out when those dates are.

THE COURT: Okay. So make the motion and include a
proposed order and as much guidance as you can give me about
what you think l ought to do with it once l enter it, because
this is taking us into terra inoognita here.

MS. YANEFSKI: Thank you, your Honor.

THE COURT: OKay?

MS. YANEFSKI: So with regard to our outstanding
discovery demands, § just have a few points. On “w for
defendant Ludwigsen, there are two issues, one of which
Mr. Krouner conferred with Mr. Burke just prior to commencing
today, which was we had requested an authorization for
Mr. Ludwigsen*s military file. Mr. Burke assures us that that
will be in our possession imminently, so l hope that he is

correct about that.

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The second issue, which it seems as if plaintiffs'
counsel and defendants' counsel have different recollections,
is regarding Mr. Ludwigsen‘s criminal file where we requested
in our discovery demand, second discovery demands, the entirety
of Mr. Ludwigsen‘s, read the language, all documents submitted
by or on behalf of defendant Ludwigsen in connection with his
sentencing in People v Ludwigsen, including without limitation
to evaluation reports created by Charles Flinton MD from San
Francisco Forensic Institute, the interface of psychology and
law, dated March l, 2016 and March l3, 2016 respectively.

Mr. Burke has provided us, as of December 21st, with
a copy of the forensic psychiatric report for Mr. Ludwigsen.
He's not provided us with anything else, and we believe that we
are still entitled to any criminal records that would be in
possession of Mr. Burke or Mr. Ludwigsen or Mr. Ludwigsen‘s
criminal attorney. That was all contemplated in our request.

THE COURT: Like what?

MS. YANEFSKI: Anything submitted on his behalf to
the criminal court, so any motion papers, anything advocating
on his behalf. lt's comprehensive, and it certainly was not
limited to the forensic psychiatric report, which Mr. Burke
seems to believe that it was.

MR. BURKE: l just followed their demand, your Honor;
anything that was submitted during the sentencing. Everything

else is publicly available. The issue that was addressed, and

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we had a conference a long time ago over this, was, as far as
what was submitted to probation, and this was the issue as to
the forensic report, because everything else was publicly
available, and then it was narrowed down to, l must produce the
forensic reports that were submitted to probation on behalf of
Mr. liudwigsen,r and l've complied with that.

So now to, at the eleventh hour, broaden their demand
as to what they*re claiming they believe they‘re entitled to
was not what was addressed previously at a prior conference and
I've complied with everything that was obligated of my client
to turn over by way of the forensic reports that were submitted
to probation at the time of sentencing.

THE COURT: My notes, my notes of our conference on
August lB, 20l7, which was, by my count, in person conference
number three, in relation to discovery only read as follows:
lf they were submitted to criminal court in connection with
sentencing, they are relevant. lf counsel has them, they must
be turned over.

You have some basis for thinking there's something
else that falls within that that they haven't given you?

MS. YANEFSKI: Well the turn there is that Mr. Eurke
hasn‘t said that this is -» he hasn't represented to us via his
letter enclosing the psychiatric report or in any other form
that this is the entirety of the criminal file submitted on

Mr. Ludwigsen’s behalf for sentencing. He's just told us that

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he thinks all we asked for is the forensic psychiatric report,
and l think the distinction is important.

MR. BURKE: Your nonor, we dealt with this in August
just based -~ and my notes are similar to the Court's as to
what was at issue, and what was issue were these forensic ~“

THE COURT: lt seems like we were talking about some
kind of psychological or psychiatric records, which sounds to
me like it's this forensic report that you're talking about.

MR. BURKE: Right, which they got in September.

THE COURT: So I'm not understanding what it is that
you think he's not giving to you.

MS. YANEFSKI: Any other document submitted in
connection with sentencing. He hasn't ~~ he‘s not saying that
this is all that there was.

THE COURT: ls there some sort of -- you know, l used
to do this for a living.

MR. BURKE: Judge, l mean, Judge -~

THE COURT: Typically there's some kind of unitary
submission that goes to the judge.

MR. BURKE: You know, to be honest, if there was a
sentencing submission that was made on behalf of his defense
counsel there, again, it would be something that is publicly
available, so what was being addressed in August was what
wasn*t publicly available that was in the possession of the

Department of Probation and the issue of whether that would be

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discoverable or not. So, never before had there been any issue
of well what else was submitted to the court that is otherwise
publicly available.

So if they‘re saying l've got to go to the docket and
say here's what's been publicly provided to the court, l can do
that as well as they can.

THE COURT: This was a ““

MR. BURKE: lt‘s an electronic ~-

THE COHRT: This is a public docket; yes?

MR. BURKE: Yes.

THE COURT: It*s not sealed or anything because --

MR. BURKE: No.

MS. YANEFSKI: Right. There may be something sealed
because of the sex nature of the crimes.

THE COURT: Well wouldn't the docket reflect that
they were sealed submissions? Plus, if the psychiatric report
wasn’t sealed, l don't know what would be.

MR. BURKE: That was the only thing that was at issue
as far as sealing -- not publicly available, because it was
submitted to probation. Probation had it within their files
but it was not maintained in the public‘s file because of the
sensitive nature that it was a psychiatric report. That was
what was teed up in August. That‘s what we addressed. There
was never any follow*up ““

THE COURT: Look, Mr. Burke ~“

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MR. BURKE: l'll get them --

THE COURT: -- if there was anything that was
submitted to the court in connection with Mr. Ludwigsen's
sentencing l think is relevant because somebody thought it was
important at the time, if it's on the docket, plaintiffs can
find it, but if you are in possession of undocketed submissions
other than the psychiatric report, it should go to plaintiffs‘
counsel. That‘s the end of that.

MS. YANEFSKI: Thank you, your Honor.

THE COURT: All right? lt there is nothing ~-

MR. BURKE: dust one.

THE COURT: You've got something there?

MR. BURKE: l didn't want to pass an opportunity ~w

MS. YANEFSKI: l wasn't done yet either.

MR. BURKE: Oh, l'm sorry.

THE COURT: That's all right.

MR. BURKE: Your Honor, just so there's clarification
now after the August l, which we thought we had some clarity,
l'll see what's been publicly submitted, and if there was
something that was submitted that's not publicly filed, I'll
endeavor to find out what that could possibly be, but from
everything that l understood the only issue is that, l'll now
go back because that wasn't ~~

THE COURT: Often there might be a letter saying,

your Honor, in connection with sentencing, we're sending you,

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you know, this letter from his mother and this letter from this
other person, you know, l don't know what there is.

MR. BURKE: Okay.

THE COURT: Sometimes ~“

MR . BURKE: Yes .

THE COURT: ~~ in the state courts there's more
informality and people do things verbally.

MS. YANEFSKI: So, your Honor, l had one more issue,
which is that we understand the defendants are serving requests
for documents on non-parties whether via subpoena as in
non-party witness, Ms. Perez, or via authorizations on
plaintiffs‘ treating physicians, and it's come to our attention
that defendants are being sent some of these records. We know
for instance K. Doe's psychiatrist has sent records to the
defendants and defendants haven't produced any of those
materials to us which they are required to do under
supplementation.

THE COURT: This is --

MS. BOCHNER: We have no problem providing “»

THE COURT: Yes, l mean, that‘s -~

MS. BOCHNER: We've recently received something, but
it works the same way, we're still chasing down doctors for
incomplete records that they‘re providing with us. So l know
that plaintiffs recently completely re-served supplemental Rule

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THE COURT: hook we're all on the same page about
this.

MS. BOCHNER: So the same, if you can serve us with
any new medical records ~~

MS. YANEFSKI: Right. 0f course.

MS. BOCHNER: »~ that are in your possession, we'll
serve you with whatever we've gotten.

THE COURT: These kinds of things that are obtained
by subpoena are supposed to be shared, and l will rely on
counsel to do that.

MS. YANEFSKI: That's it, your Honor.

THE COURT: 0kay.

Mr. Burke, back over to you.

MR. BURKE: dust a ““ there's an ongoing dispute as
to the scope of the social media that ~~ we addressed it, we
got Mr. Krouner's position of we're working on mm and we got

those responses on the date that the court had set; however,
it's still limiting the social media to just communications
between players and related to softball and that's not what the
demands related to, the demand's far broader than that for all
social media during the timeframe of the 2014/2015 season and
beyond because of the claims of the damages that they‘re saying
that they've removed themselves from their friends, their
family, and aren‘t the same as a result of what had gone on

back in 'l4 and ‘15. Those materials have not been produced.

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They're taking a position that they've narrowed their answer
to, yes, you*ve asked for everything, but we're only giving you
this.

So we're still back to -- it's similar to what had
gone on with the emails but nonetheless, we have this issue
here on the social media front where we've asked for everything
and there‘s actually now been a change in the -- not change but
a reaffirmation of the defendants‘ position on the Court of
Appeals decision that just came down last week from the State
of New York as far as the discoverability of social media when
there is at issue the plaintiffs' condition or claimed
condition and a change of that condition as a result of the
alleged conduct.

So we're still in this frame of we make a broad
demand, we get told they‘re working on it, they give us the
response and they narrow their response beyond what the demand
is.

So l can do one of two things, l can tee that up with
your Honor for the 28th as well in a letter --

THE COURT: l think that's what you should do.

MR. BURKE: 1 think that that's ~~

THE COURT: l think that when you were here in
January you told me that plaintiffs had not responded,
plaintiffs have agreed to supplement. Plaintiffs agreed to

provide all social media from 2014 to the present without

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limitation and notwithstanding plaintiffs‘ objections to
relevance.

MR. BURKE: And that wasn't done.

MS. BOCHNER: Your Honor, on January 19th we did
receive the responses, as the Court ordered. The issue, l
think, is Facebook messages. So the demands may have been
vague as far as Facebook communications. There are Facebook
posts. There are Facebook private messages. There are
Facebook chats. And it seems that plaintiffs are taking the
stance that we are not entitled to the Facebook messages from
2014 to the present.

Mr. Burke and our office both sent letters in
response to the January 19th submission and again argued that
we're entitled to the entirety of plaintiffs' Facebook
accounts, including messages.

MS. YANEFSKI: Your Honor, if l may take the Court
through a timeline of how terms have been used in this case.

The simple fact is, the defendants have not mm or at
least defendant Ludwigsen never requested Facebook messages
from the plaintiffs beyond the scope of their messages to or
relating to defendant Ludwigsen. And the terms social media
has been used in connection with social media posts which have
been a different creature throughout this action until one turn
of phrase by Mr. Burke in a letter dated December 21 just a

couple of weeks before Mr. Krouner made his representation he

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would serve all social media at this conference.

So, in the 18 months of this case, hugust of 2016,
defendant Ludwigsen‘s first request to produce to plaintiffs
his request number five is any and all communications you have
sent or received that relate in any way to defendant including
ali text messages and Facebook messages to, from or about
defendant.

ln that December of 2016 second request to produce
there's a different reguest; any and all of plaintiffs' social
media posts from January lst, 2014 to the present.

February 17, 2011 Mr. Burke sent our office a
deficiency letter and it lists in completely unrelated
subheadings separately asking for production of social media
from 1/1/2014 through the present, that's the first unnumbered
subheading, and then down at the third unnumbered subheading is
for all communications including Facebook messages. Same
thing, and deficiency letter June 2017 ~"

THE COURT: All communications.

MS. YANEFSKI: All communications, including Facebook
messages relating to Ludwigsen.

THE COURT: Okay.

MS. YANEFSKI: Sorry. And June 28, 2017 another
deficiency letter, it's same in substance as the February
letter, subheading four, social media posts. Subheading seven

is communications, including Facebook messages relating to

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Ludwigsen.

And then duly 12th of last year Mr. Burke wrote your
Honor, and this letter to the Court again has under subheading
five, social media posts, that‘s the term, from January 2014 to
the present, and then under another subheading is
communications, including Facebook messages relating to Kurt
Ludwigsen.

November 16, 2017, we get another deficiency letter
from Mr. Burke, who says l want to follow up on outstanding
discovery items in accordance with your Honor's order during
the August 18th conference. We are still waiting on
plaintiffs‘ social media posts from June 2014 to the present as
well as all communications with or about Mr. Ludwigsen.

And then for the first time on December 21st,

Mr. Burke writes a deficiency letter to our office where
suddenly he's talking about Facebook messages in connection
with social media and not in connection with communications, so
he says, second, as you know, we have demanded, one, all of
plaintiffs' social media posts and messages from June 2014 to
the present and, two, all communications with or about Kurt
Ludwigsen. And he says it's been over a year since we first
made this reguest. So that's not true, because it had not been
over a year since he made that reguest. He was changing his
request in his letter.

THE COURT: ln other words, the new -- what's new in

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that December request is a request for Facebook messaging --

MS. YANEFSKE: Correct.

THE COURT: mm not related to Mr. Ludwigsen.

MS. YANEFSKI: Right. For all Facebook messaging.
And using the term social media in conjunction with Facebook
messages for the first time as distinct from social media was
posts, and Facebook messages were communications, and now he's
conflated the two. And so that was when Mr. Krouner said to
your Honor in January that plaintiffs would provide all social
media. We're going to an 18-month history of the case where
social media means social media posts, and we provided that to
Mr. Burke.

So, where he says that he had a demand for all of our
Facebook messages, that's not true. We provided the relevant
Facebook messages that he demanded.

THE COURT: Well, he's demanded them now.

MS. YANEFSKI: But he's demanded them after 18 months
of discovery, and we would argue that they‘re not relevant and
where Mr. Burke cites to Court of Appeals law that, you know,
certain social media is discoverable where the plaintiff claims
certain damages, that is not an unqualified law, it's not an
unqualified standard, and you know, there are courts in this
circuit that have said that the ~- if l may -- plaintiffs'
entire social networking account is not necessarily relevant

because he or she is seeking emotional distress damages.

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That's in the Western District. Eastern District, emotional
distress claims does not warrant disclosure of all Facebook
posts, Silva versus Dick’s Sporting Goods.

THE COURT: dust so l understand, and l will tell
everyone, l'm not on Facebook, so -- although l‘ve issued
warrants to them many times, l have a somewhat primitive
understanding here, but Facebook posts, as l understand it, and
l just want to make sure we're using the same terminology here,
refers to something that is posted to the world or at least to
a large community of recipients.

MS. YANEFSKI: That's correct.

THE COURT: Whereas Facebook messaging is more like
emailing --

MS. YANEFSKI: That's correct.

THE COURT: ~- that's addressed to a particular
recipient.

MS. YANEFSKI: Right, and subject to the same
relevance law in terms of production and discovery that email
would be.

THE COURT: So, Mr. Burke, why isn't a demand now for
all Facebook messaging similar to a demand for all emails you
sent to anybody for any purpose over this period of time or all
letters you wrote or all communications of any kind whatsoever,
which is almost always going to be an overbroad reguest?

MR. BURKE: Well, it would be, your Honor, with

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certain caveats. l mean, if you have a plaintiff who‘s
claiming that they are not able -- that they‘ve withdrawn from

their friends and their family as far as their daily life
activities because of what went on here, then 1 believe it
would be, and l think that there‘s a strong position that the
information before then to show what their social media
communications were like, and then during and after what those
communications are like, to show if, in fact, there actually
had been some kind of damage of withdrawn -- of them actually
being withdrawn or did they continue to live their lives as
they did before.

So to say that it would be overly broad, we narrowed
it to the beginning, l didn't ask for the prior, 1 asked for
during the time of and after, so l could see what their social
media and posts were like, l don't have the timeline that she's
put together as far as my demands.

THE COURT: You‘re going to get the posts, if you
haven't already gotten them.

MR. BURKE: 1 haven't gotten the messenger.

THE COURT: Right.

MR. BURKE: Right. 1 supposedly got the posts, but
what we had was, we were here in January where there was no,
hey, look, they*re asking for everything and we're only going
to give them this.

THE COURT: The problem here, Mr. Burke, is that l

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think what we talked about in January was social media ~-

MR. BURKE: Right.

THE COURT: m without drawing the distinctions that
are now being drawn.

MR. BURKE: And, you know, in fairness, your Honor,
to say now, well, it*s Facebook but it‘s the messaging and not
the posts, we're talking about social media which incorporated
Facebook. l didn't say l just wanted this, and they didn't say
you're only going to get that. They said you're going to get
the Facebook social media irrespective of ~~ irrespective of
the relevancy arguments that he otherwise would raise. He said
he'd give us that, we didn't get that. He decided to then just
say, l'm not giving you the messages, l'm just going to give
you the posts.

And then there's issues, there's further issues as to
are we getting the posts that were publicly made versus the
ones that were privately made and those things --

THE COURT: Well that we can find out.

MS. YANEFSKI: We provided all of the public and
private posts. I don't recall -- plaintiffs did not make any
sort of objections or withhold anything based on grounds of
privacy with regards to the posts as distinct from the
messages.

MR. BGRKE: The other thing, too, as far as, you

know, the demand was made in December, if the demand that

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they‘re saying now is the one for the first time, which l don't
believe is the case because I've been -- she points to it, a
bullet point up here and a bullet point down there, and says
therefore they must be conflated and related. l don't know, l
don't have all those letters in front of me to go through, no,
dudge, because all l can tell you is that the continued
responses we got were deficient, and l continue to go back and
say, hey, look, we're looking for all of this, we've been
asking for it for a long time now and you continue to give us
dribs and drabs, you say you're working on it, you demanded all
these things from us and the simple me requesting Facebook
access, Facebook messages, Facebook postings under the broader
umbrella of Facebook social media that you're not giving us
access to that, we're entitled to. And they didn't raise that
objection of saying we're only going to give you portions but
not others.

So there's obviously something here where there are
communications, messaging back and forth, whether it be between
plaintiffs, between someone that they don't want us to have
access to.

And just to get back to the initial preservation
letters and all that, this was something that was covered under
that broader umbrella, and now they‘re the ones that are
parsing saying, oh, well, you didn't really ask for the posts,

you asked for »» l mean, you asked for the posts, but you

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didn't ask for the messages. They're all under the broader
social media context of ways of communicating.

THE COURT: Well, but there's a tremendous difference
between public posts, which are available, as l understand it,
to anybody, or anybody that's on Facebook, and private posts
which go to the community of friends, if that's the
terminology, but are posted to a community somehow versus
private one~to"one communications which it doesn*t really
matter whether it's on Facebook or email or text or anything
else, and so l do think it is a logical distinction for
plaintiffs to draw and, frankly, l find it kind of remarkable
that you think it's okay to just say, you have to give me all
your communications without any restriction on subject matter
or who you‘re communicating with because that really sounds
like fishing.

MR. BURKE: Your Honor, it‘s not in a sense that
we've limited the scope. And by the way, when you have mm

THE COURT: You've limited the scope to?

MR. BURKE: To the beginning of -- 1 didn't ask for
prior.

THE COURT: You've limited the period of time that
you made the request for.

MR. BURKE: Correct. Limiting the scope by way of a
temporal limitation; however, when you say that »~ when you

have testimony from plaintiffs who are saying that their

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everyday activities have been affected as a result of this then
l believe that ~~ and they‘re very active on social media
communicating,r whether it be texting, that would be
discoverable, your Honor, whether it's going to be -~

THE COURT: Would you be able to tap their phones?

MR. BURKE: Would l be able to tap their phones? No,
but l should be able to get their phone records to show who
they actually are communicating with. To say, hey, look, if
she's saying that l was withdrawn, l wasn't speaking to my
family, and there shows that there's 15 phone calls to her
mother, that’s something that l’d be able to confront a person
about. And that should be something l'd be allowed to
discover. So to say that l should be limited and not be able
to challenge what their claims of their affect on their daily
life activities which, for these young girls, social media was
a big part of it and so were communications through Facebook,
that those things are all discoverable for the timeframes of
what we're talking about.

THE COURT: Have you got any authority for this
proposition that you can just look at ~» demand to look at all
of somebody‘s communications which might include --

MS. BOCHNER: We do, your nonor. Hold on one second.

MR. BURKE: And we're just looking to --

MS. BOCHNER: lt‘s in a letter that we wrote to

plaintiffs' counsel on February 16th that my office did.

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THE COURT: Okay, l don't think l got that one.

MS. BOCHNER: You did not.

MR. BURKE: You did not, it*s between the parties.

Your Honor, in looking at Ms. Bochner's letter, it
says, quoting this portion, says, "Particularly in claiming" --
"in claims involving personal injury, courts have found that
social media information may reflect the plaintiffs' emotional
or mental state or physical condition, activity, level of
employment, this litigation and injuries and damages claimed."
And that's citing Sourdiff --

THE COURT: Social media information, l mean that's
kind of a broad term; isn't it?

MR. BURKE: Well that's the thing that --

THE COURT: l mean, you're getting some social media
information, just not the kind that you're now insisting on.

MR. BURKE: Well,r here it says, "More pointedly,
where a plaintiff puts her emotional well-being at issue,"
which they all have here, "by asserting claims of sexual
harassment," which they all have here, "courts typically find
that social media content is relevant because Facebook usage,"
and it doesn't limit it to posts versus messaging, it says,
"Facebook usage depicts a snapshot of the user's relationship,
state of mind at the time of the content of the postings."

So that‘s talking about postings, but also the

messaging l think, if it is something that is clearly -»

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they're claiming one thing of withdrawal, and l*m not
communicating with my family, l'm not communicating with my
boyfriend, it's affected my relationship with my friends, and
those messages belie that, these clearly discoverable in
allowing us to defend the claims that they‘re making.

So this is not a fishing expedition, Judge, based on
their claims, their claims of injury and damages, and the case
law that l cited, those two cases, one from the Southern
District, one from the Northern District within this circuit
clearly supports the position that that's discoverable.

Whether it's ~~

THE COURT: Well, that some kind of social media
information is discoverable. lt's -- part of the problem is
that Facehook does everything now. I‘ve got news feeds, we've
got all kind of things. To refer to it as social media is like
referring to written materials, which might include letters and
newspapers and books and menus and all sorts of things. lt's a
very broad classification.

MS. BOCHNER: Your Honor, just to add to the cases
cited by Mr. Burke, the Court of Appeals, which is
understandably not federal court, recently came down with a
decision actually only last week in the case of Forman v.
Henkin, in which they did discuss specifically Facebook
messages and allowed for the discoverability of Facebook

messages when the plaintiff's emotional state and their being

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withdrawn was put at issue. l can give you the slip opinion
cite, is 2018 New York Slip Op OlOlB, and that was Justice
DiFiore in the Court of Appeals, and it specifically discusses
Facebook messages.

THE COURT: ln the context of --

MS. BOCHNER: 0f discoverability by defendants*
counsel that Facebook messages ~~

THE COURT: Facebook messages with anyone at all not
restricted by subject matter or »“

MS. BOCHNER: Specific for a time period to discuss
the amount of communications. There was an agreement in the
lower court that plaintiffs would turn over the amount of
characters was one thing that the courts, the lower courts,
contemplated, that characters in a message versus what was
actually said in the private message to be able to assess
whether somebody is having long conversations with friends
following --

THE COURT: So they didn't order that the content be
divulged.

MS. BOCHNER: ln the end, once it went -~ l
apologize, your donor.

THE COURT: You know, don't try to read it on your
screen, l'll read the case.

MS. YANEFSKI: If l may, your Honor, looking over the

forman case, which l was lucky enough to bring today and having

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not read it in depth, l would just like to point out to your
Honor to be aware of when reading it that it seems like the
case is turning on a distinction between public facing posts
and private facing posts and doesn't touch specifically on the
issue of messaging as distinct from posting.

THE COURT: All right, l'll read the case. l'll give
you a ruling on that as well.

Anything else we need to do this afternoon?

MS. YANEFSKI: l just wanted to update your Honor
with regards to settlement, that the parties have conferred and
there is no settlement at this time.

THE COURT: There is no settlement -»

MS. YANEFSKI: Correct.

THE COURT: -- at this time.

MS. YANEFSKl: Wouldn‘t that be something.

MS. BOCHNER: Your Honor, just to quickly address
that. l know several conferences ago, l don't have the exact
date, l know the issue of plaintiffs‘ retainers was discussed,
and it was contemplated ~~ my office and Mr. Burke's office had
requested copies of plaintiffs' retainer agreements, and it was
decided that at this time plaintiffs would produce redacted
copies of the retainer agreement just showing the date;
however, your Honor left it open that, when the case comes
closer to trial, that the entire retainer agreement would

likely be discoverable in light of certain claims and their

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involvement of attorneys fees as part of a damages claim. In
these ~~

THE COURT: Well, l mean, this would be, in other
words, attorneys fees wouldn‘t be assessed by the jury in this
case, right, they would be the subject of a separate fee
application ~»

MS. BOCHNER: Correct. nowever »~

THE COURT: »~ that would be addressed to the Court
after plaintiffs ~~ in the event that plaintiffs obtained a
favorable verdict.

MS. BOCHNER: Yes. However, while settlement
discussions are taking place, part of plaintiffs‘ settlement
demand is not just monetary value for the plaintiffs, but he's
also looking to us for attorneys fees upward of six figures,
possibly higher. We haven't been provided with any breakdown
of the attorneys fees, although we've asked. Therefore, again,
l would renew that our demand for complete, unredacted retainer
agreements is now a ripe issue that plaintiffs should turn
over. ln the event that settlement discussions are able to
proceed, that this is something that's clearly at issue and
we're clearly entitled to if plaintiffs are seeking this high
number of attorneys fees.

MR. KROUNER: Your Honor, respectfully, l think this
issue is moot and not ripe, as your donor previously ruled when

the subject of retainer agreements was first put to the

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THE COURT: At that time there was an issue about
when plaintiffs' counsel had been retained; isn‘t that right?

MR. BURKE: Yes.

MS. BOCHNER: That was the issue, but the issue was
also for the retainer agreement.

MR. KROUNER: ln terms of the premise that
Ms. Bochner is making at this time as it relates to settlement,
without getting into the substance of the settlement discussion
with the Magistrate Judge or on an open record, the substance
of the conversation l had with Ms. Bochner in this courtroom
before your Honor took the bench was to the exact opposite,
that based on the demand, independent of requests for attorneys
fees, the defendants and their interested parties were not
interested in continuing any dialogue.

So l will accommodate Ms. Bochner if and when in good
faith she tells me that we have something to talk about, but l
understood before this conference began this afternoon, this
afternoon, that this issue is not ripe because they had no
desire to engage in any settlement dialogue. So the issue of
tagging a settlement negotiation to our retainer agreements and
lodestars is just the opposite of what she told me earlier.

THE COURT: Well, you know, in any event, the Court
obviously wants to encourage settlement discussions and assist

in any way, but whether plaintiff counsel wants to informally

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share materials or summaries or some kind of information about
what their fee demand is likely to look at, they‘re free to do
that, but I'm not sure that l would be inclined to make them do
it.

And, frankly, l'm not sure what the retainer would *~
what light the retainer agreement would shed on that discussion
because if the »» if this goes to a fee anplication, it's going
to be based on their billable hours and their effort to justify
the number of hours expended and the hourly fee that is
associated with that and you know that's a whole process. So

I*m not sure that I want to inject myself into this further.

All right.

Do we have another conference scheduled in this case?

MR. KROUNER: Not at this time, your Honor.

THE COURT: Then we should put on a phone conference
in 30 days.

THE CLERK: Just want to be sure there‘s nothing else
on

THE COURT: That will be number 21.

THE CLERK: We could do Marcn 21st at 10:00 o'clock.

MR. KROUNER: By teiephone?

THE COURT: Yes. As always, unless we're overtaken
by events. All right.

MR. KROUNER: Thank you.

THE COURT: dave a good afternoon, everybody. l‘ll

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look forward to your additional submissions.
MS. YANEFSKI: Thank you, your Honor.
THE CLERK: Ali rise.
(Proceedings concluded)

Certified to be a true and accurate

transcript of the digital electronic

recording to the best of my ability.

 

 

 

U.S. District Court

Official Court Reporter

Angela O'Donnell, RPR, 914~390-4025

 

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MR. KROUNER: [19} 3/43/711!16
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MS. BOCHNER: [71]

MS. YANEFSKI: [47} 6/96/126/19
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EXHIBIT F

 

 

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UNITED STATES DISTRICT COURT
SOUTHBRN DIS'I`RICT (}F NE`W YGRK

 

X
K. DOE, et a}.,
Plaintiifs, ORDER
-against- 15 Civ. 7822 (CS)(PBD)
15 Civ. ?827 (CS)(PED)
KURT LUDWIGSEN, et al.,
Defendants.
X

 

On or about Octobcr 26, 2017', plaintiffs’ couuscf caused to be issued a subpoena ad
testificandum and duces tecum, addressed to Brittany Stm'tevarlt (“MS. Stu:tevant”), a.k.a. Allis
Haze (thc “Subpoena”). The Subpoona called for her deposition on Docember 18, 2017, in Las
Vegas, Nevada, where she resides Ms. Stultcvant was served with the Subpoena on or about
November 2, 2017.

Proscntly before this Court is plaintiffs motion to compel Ms. Sturtevant’s compliance
with the Subpoena (15 Civ. 7827, Dl<:t. #l 12).1 Spociiically, plaintiffs seek all ()rder compclfing
MS. Sturtevont’s videotaped deposition on April 30, 2018, at the Reisman Sorokas law office in
Las chas, chada, and, compelling production of all responsive documents to the subpoena by
5 P.M. on April 16, 2018.

This Court adheres to its prcviously~expressed view that, pursuant to Rule 45 of the
Fedoral Rulss of Civii Proccdure, thc motion must be filed in the district where compliance is
required (thc United Statos District Court, District of chada-Las chas).

Accordingly, because this Court lacks jurisdiction under FRCP 45 to enforce the

Subpocna (absent transfer of the motion to this Court from the District Court of chada pursuant
to Rule 45(£)), plaintiffs motion is DENIED ‘WITHOUT PRE.}UDICE.

Dat€d: March S, 2018 SO ()RDERED. /
Whito Plains, New York "" /,/”,/7 f
/_,/7/ //\

PAUL'E. DAVISON, U.S.M._T.

    
  

 

 

1 The motion was not filed under the designated lead case, 15 Civ. 7822 (CS)(PED).

 

 

 

